     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 1 of 81




                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA

ALICIA KELLY                              *         CIVIL ACTION
          Plaintiff                       *
                                          *         NO. 22-683
VERSUS                                    *
                                          *         JUDGE:
CENTER FOR TOXICOLOGY &                   *
ENVIRONMENTAL HEALTH, a subsidiary of *             MAGISTRATE:
MONTROSE ENVIRONMENTAL GROUP,             *
INC., a Delaware Corporation, LIONSGATE   *
ENTERTAINMENT, INC., a California         *         JURY DEMAND
Corporation, LIONSGATE TELEVISION,        *
INC., a California Corporation, JERRY     *
BRUCKHEIMER, INC., a California           *
Corporation JERRY BRUCHKHEIMER            *
TELEVISION, INC., a subsidiary of JERRY   *
BRUCKHEIMER FILMS, INC., a California     *
Corporation, APPLE, INC., a California    *
Corporation, APPLE PRODUCTIONS, INC., *
a California Corporation, APPLE STUDIOS,  *
a subsidiary of APPLE, INC., a California *
Corporation, JASON SEALS, CHASE SELBY, *
and JASON BECKNER                         *
              Defendants                  *
*****************************

                           COMPLAINT FOR DAMAGES

      NOW COMES Plaintiff, ALICIA KELLY, by and through her attorneys, The Law

Offices of Stephanie L. White, P.C., and complaining of the Defendants, CENTER FOR

TOXICOLOGY      &     ENVIRONMENTAL       HEALTH,    a   subsidiary   of   MONTROSE

ENVIRONMENTAL GROUP, INC., a Delaware Corporation, LIONSGATE ENTERTAINMENT,

INC., a California Corporation, LIONSGATE TELEVISION, INC., a California Corporation,

JERRY BRUCKHEIMER, INC., a California Corporation, JERRY BRUCHKHEIMER

TELEVISION, INC., a subsidiary of JERRY BRUCKHEIMER FILMS, INC., a California


                                         1
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 2 of 81




Corporation, APPLE, INC., a California Corporation, APPLE PRODUCTIONS, INC., a California

Corporation, APPLE STUDIOS, a subsidiary of APPLE, INC., a California Corporation, JASON

SEALS, CHASE SELBY, and JASON BECKNER, states as follows:

                                JURISDICTION AND VENUE

       1.      This matter is a claim for personal injuries arising out of conduct on the part of the

Defendants involving Sexual Battery, Sexual Harassment, Sexual Discrimination, Wage

Discrimination based on Sex, Sex Trafficking, Wrongful Discharge, Intentional Infliction of

Emotional Distress, and Negligent Supervision. The claims include violations of Title VII of the

Civil Rights Act of 1965, 42 U.S.C. 2000(e), as amended by the Civil Rights Act of 1991, the

Trafficking Victims Protection Act of 2000, 18 U.S.C. 1591, et. seq., and the Fair Labor Standards

Act of 1938, 29 U.S.C. 206(d)(1).

       2.      This Honorable Court has original jurisdiction, pursuant to 28 U.S.C. 1332(a)(1),

because the matter in controversy exceeds $75,000, and the parties are citizens of different states.

       3.      Venue is proper, pursuant to 28 U.S.C. 1391, because a substantial part of the events

giving rise to the claim occurred in the Eastern District of Louisiana, and Defendant, CENTER FOR

TOXICOLOGY         &    ENVIRONMENTAL            HEALTH,       a   subsidiary    of   MONTROSE

ENVIRONMENTAL GROUP, INC., a Delaware Corporation, maintains an office in this District.

       4.      Jurisdiction is further vested in this Honorable Court, pursuant to 28 U.S.C. 1331,

because Plaintiff’s claims are based, in part, upon Title VII of the Civil Rights Act of 1964, as

amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et seq., the Equal Pay Act of 1963, 29

U.S.C. 206(d), and The Trafficking Victims Protection Act, 18 U.S.C. 1591 et. seq.

       5.      Pursuant to 28 U.S.C. § 1367(a), this Honorable Court has supplemental jurisdiction

over all other claims asserted under the laws of the State of Louisiana.

                                                 2
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 3 of 81




                                            PARTIES

       6.      Plaintiff, ALICIA KELLY, (hereafter “Plaintiff” or “KELLY”) is an adult residing in

New Orleans, Louisiana.

       7.      Defendant, CENTER FOR TOXICOLOGY & ENVIRONMENTAL HEALTH

(hereafter “CTEH”), was an Arkansas Limited Liability Company and is now a wholly owned

subsidiary of Defendant, MONTROSE ENVIRONMENTAL GROUP, INC., which is a Delaware

Corporation.

       8.      Defendant, MONTROSE ENVIRONMENTAL GROUP, INC., (hereafter

“MONTROSE”) is a corporation organized under the laws of the state of Delaware with offices

throughout the United States, Canada, and Australia, including an office in New Orleans, Louisiana,

and with its principal place of business located at 5120 Northshore Drive, North Little Rock,

Arkansas, 72118.

       9.      Defendant, LIONSGATE ENTERTAINMENT, INC., (hereafter “LIONSGATE

ENTERTAINMENT”) is a corporation organized under the laws of the state of California, with its

principal place of business located at 2700 Colorado Avenue, Santa Monica, California 90404.

       10.     Defendant,    LIONSGATE        TELEVISION,        INC.,   (hereafter   LIONSGATE

TELEVISION”) is a corporation organized under the laws of the state of California, with its

principal place of business located at 2700 Colorado Avenue, Santa Monica, California 90404.

       11.     Defendant, JERRY BRUCKHEIMER, INC., (hereafter “BRUCKHEIMER”) is a

corporation organized under the laws of the state of California, with its principal place of business

located at 16030 Ventura Boulevard, Suite 380, Encino, California 91436 and, upon information and

belief, the parent company of JERRY BRUCKHEIMER FILMS, INC., and JERRY

BRUCKHEIMER TELEVISION, INC.

                                                 3
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 4 of 81




       12.     Defendant,     JERRY      BRUCKHEIMER           TELEVISION,        INC.,   (hereafter

“BRUCKHEIMER TELEVISION”) is a corporation organized under the laws of the state of

California with its principal place of business located at 16030 Ventura Boulevard, Suite 380,

Encino, California 91436.

       13.     Defendant, JERRY BRUCKHEIMER FILMS, INC., (hereafter “BRUCKHEIMER

FILMS”) is a corporation organized under the laws of the state of California with its principal place

of business located at 16030 Ventura Boulevard, Suite 380, Encino, California 91436.

       14.     Defendant, APPLE, INC., (hereafter “APPLE”) is a corporation organized under the

laws of the state of California with its principal place of business located at One Apple Parkway,

Cupertino, California 95014 and, upon information and belief, is the parent company of APPLE

PRODUCTIONS, INC., and APPLE STUDIOS.

       15.     Defendant, APPLE PRODUCTIONS, INC., (hereafter “APPLE PRODUCTIONS”)

is a corporation organized under the laws of the state of California with its principal place of

business located at One Apple Parkway, Cupertino, California 95014.

       16.     Defendant, APPLE STUDIOS, (hereafter “APPLE STUDIOS”) is a wholly owned

subsidiary of Defendant, APPLE PRODUCTIONS, INC.

       17.     Defendant, JASON BECKNER, (hereafter “BECKNER”) is an adult residing in the

state of Kentucky.

       18.     Defendant, JASON SEALS, (hereafter “SEALS”) is an adult residing in the state of

Arkansas.

       19.     Defendant, CHASE SELBY, (hereafter “SELBY”) is an adult residing in the state of

Arkansas.



                                                 4
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 5 of 81




                            FACTS COMMON TO ALL COUNTS

       20.      Plaintiff, KELLY, is and was at all times relevant hereto, an adult female who began

working for CTEH in May 2019.

       21.      In July 2019, Plaintiff was selected by CTEH for “Level B” training, which qualified

her to be selected for early mobilization, and she completed that training successfully.

       22.      Beginning in August 2019, Plaintiff was assigned by CTEH to work in Rochester,

New York as part of a mercury exposure response team and she completed that assignment

successfully.

       23.      Beginning in November 2019, Plaintiff was assigned by CTEH to work in Port

Neches, Texas, as part of a team responding to a butadiene explosion, and she completed that

assignment successfully on February 20, 2020.

       24.      Following her work in Neches, Texas, Plaintiff was asked by CTEH whether she had

a passport and would be willing to work as part of a Covid-19 response team in Japan; Plaintiff

replied that she had a valid passport and wanted to work on the Japan assignment.

       25.      CTEH assigned only men to work in Japan.

       26.      In or about March 2020, CTEH was purchased, in its entirety, by Defendant,

MONTROSE.

       27.      In April 2020, Plaintiff was assigned by MONTROSE, through its subsidiary, CTEH,

to take the lead on a Covid-19 screening assignment for a client, Lanxess, in Woodbridge, New

Jersey, and she completed that project successfully in June 2020.

       28.      While working with Lanxess, Plaintiff developed a positive relationship with that

client, which resulted in the project being extended, to the benefit of MONTROSE and its

subsidiary, CTEH.

                                                 5
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 6 of 81




        29.    In August 2020, Plaintiff was assigned by MONTROSE, through its subsidiary,

CTEH, to work on a school water damage project with a client, SRP, in Cedar Rapids, Iowa, which

she completed successfully.

        30.    During her assignment with SRP, Plaintiff worked with Brian Simpson of SRP, who

complimented Plaintiff on her work for that company to MONTROSE, through its subsidiary,

CTEH.

        31.    Because of the favorable response by SRP to Plaintiff’s work for them in Iowa,

beginning in September 2020, Plaintiff was assigned by MONTROSE, through its subsidiary,

CTEH, to work on another water damage project with SRP in Lake Charles, Louisiana.

        32.    While working for MONTROSE, through its subsidiary, CTEH, in Lake Charles,

Louisiana, Plaintiff was asked to take the lead on a Parish building project where she oversaw more

than 25 MONTROSE and/or CTEH employees and liaised with the executive staff of client SRP.

        33.    Plaintiff completed her work in Lake Charles, Louisiana successfully and received

complimentary reviews from the SRP executive staff, to MONTROSE, through its subsidiary,

CTEH.

        34.    Later in September 2020, Plaintiff was assigned by MONTROSE, through its

subsidiary, CTEH, to lead a moisture mapping project with client, ServePro, in Biloxi, Mississippi

and Mobile, Alabama, when the project manager who had been working on that project was moved

to a different project and specifically asked that Plaintiff take his place; Plaintiff completed that

project successfully.

        35.    In October 2020, Plaintiff was assigned by MONTROSE, through its subsidiary,

CTEH, to oversee a moisture mapping project with a client, Phoenix Coatings, in Pensacola, Florida.



                                                 6
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 7 of 81




       36.     During her work with Phoenix Coatings, Plaintiff was complimented by her

supervisors at MONTROSE and CTEH, for her organizational skills and client skills, and

MONTROSE created a company email account for Plaintiff.

       37.     In October 2020, Plaintiff requested assignment to the Innovative Services division of

MONTROSE, through its subsidiary, CTEH, which was involved in the production of television

shows and feature films, based on prior experience she had in that industry.

       38.     At all times relevant hereto, SELBY was the Vice President and Director of the

Innovative Services division of MONTROSE, through its subsidiary, CTEH.

       39.     On or about October 25, 2020, Plaintiff was assigned by MONTROSE, through its

subsidiary, CTEH, to work as a Testing Coordinator on the production of the “Hightown” television

show in Wilmington, North Carolina.

       40.     Hightown is a television series produced by Defendants, LIONSGATE

ENTERTAINMENT, through its subsidiary, LIONSGATE TELEVISION, and BRUCKHEIMER,

through its subsidiaries, BRUCKHEIMER FILMS and BRUCKHEIMER TELEVISON.

       41.     On October 20, 2020, MONTROSE, through its subsidiary, CTEH, paid Plaintiff

$25.00 per hour while male Testing Coordinators working in the Innovative Services division were

being paid up to $35.00 per hour.

       42.     In October 2020, MONTROSE, through its subsidiary, CTEH, employed G. Guiotte

as the Health and Safety Manager for the production of Hightown, and he was Plaintiff’s immediate

supervisor.

       43.     In and prior to October 2020, MONTROSE through its subsidiary, CTEH, employed

SEALS as the Health and Safety Supervisor for the production of Hightown, and he was Guiotte’s

immediate supervisor.

                                                 7
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 8 of 81




       44.     On or about November 5, 2020, MONTROSE, through its subsidiary, CTEH,

removed Guiotte as Health and Safety Manager for production of Hightown.

       45.     On or about November 5, 2020, MONTROSE, through its subsidiary, CTEH,

assigned the duties of the Assistant Health and Safety Manager for the Hightown production project

to Plaintiff without increasing her pay, while male co-workers handling the same duties and

responsibilities were paid considerably more than Plaintiff.

       46.     During his time working on Hightown, SEALS was repeatedly drunk while on duty,

and he repeatedly inquired of Plaintiff about the sexual orientation of his male co-workers, stating

that he was looking for a “boyfriend.”

       47.     On or about November 1, 2020, a contract nurse, J. Etzkorn, who was employed by

MONTROSE, through its subsidiary, CTEH, formally complained to the company’s home office

about SEALS being drunk on duty, drunk in public, drunk while interacting with clients during

production of Hightown, and being unresponsive to positive Covid-19 tests due to alcohol

impairment.

       48.     On or about November 25, 2020, SEALS took photographs of Sullivan and

commented to Plaintiff about how “sexy” Sullivan was to SEALS, which made Plaintiff feel

uncomfortable in her workplace.

       49.     During November and December 2020, SEALS became increasingly drunk and

belligerent while on duty, including making harassing and inappropriate comments to Plaintiff and in

her presence of a sexual nature and making drunken telephone calls to LIONSGATE TELEVISION

executives Ami Cohen and Joel Meyer, and BRUCKHEIMER executives Jonathan Littman,

KristieAnne Reed, Producer Ellen Schwartz, Show Creator Rebecca Cutter, Acot Monica Raymund,

Actor Amaury Nolasco, UPM Dale Williams and Second AD Steven Lafferty.

                                                 8
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 9 of 81




       50.     On or about December 15, 2020, Plaintiff spoke with SELBY to discuss Etzkorn’s

formal complaint about SEALS. SELBY advised that this was not the first time such complaints had

been made against SEALS, and that SELBY would “monitor” the situation.

       51.     During her conversation with SELBY on or about December 15, 2020, Plaintiff

requested that her pay be increased to comport with the pay being given to her male co-workers

performing the same duties and responsibilities. MONTROSE, through its subsidiary, CTEH, did not

increase Plaintiff’s wages.

       52.     On or about December 25, 2020, Plaintiff again spoke with SELBY to discuss the

ongoing drunkenness and belligerence of SEALS. Plaintiff was informed that SEALS was being

promoted by MONTROSE, through its subsidiary, CTEH, and he would be transferred to the

company’s headquarters in Arkansas and given a raise.

       53.     On or about January 4, 2021, SEALS sent Plaintiff a personal gift of $1,000.00 by

Venmo with a message expressing his gratitude for all of the good things Plaintiff had done for

MONTROSE, through its subsidiary, CTEH, while working on the production of Hightown.

       54.     On or about January 4, 2021, SEALS sent Sullivan a personal gift of $1,000.00 by

Cash App with a message stating it was for “sexual favors.”

       55.     SEALS’ gift to Sullivan became known to Plaintiff, including the accompanying

message, which made Plaintiff uncomfortable in the workplace.

       56.     During January and February 2021, SEALS continued to be drunk and belligerent

while on duty and during his interactions with employees of MONTROSE, through its subsidiary,

CTEH, including Plaintiff, and with clients, and SEALS continued to make harassing and

inappropriate comments to Plaintiff or in her presence of a sexual nature.



                                                9
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 10 of 81




       57.     By February 2021, SEALS’ intoxication while at work had become so severe that he

could not perform his job, including contract tracing, remembering conversations with cast and crew

members, and returning telephone calls and emails; this behavior is witnessed by Plaintiff, Sullivan,

other employees of MONTROSE and CTEH, along with agents and employees of LIONSGATE

ENTERTAINMENT, LIONSGATE TELEVISION, BECKNER, BECKNER FILMS, and

BECKNER TELEVISION.

       58.     While working for MONTROSE, through its subsidiary, CTEH, on Hightown,

SEALS became belligerent towards Plaintiff, and he made harassing and inappropriate comments to

her of a sexual nature to Plaintiff or in her presence.

       59.     SEALS’ conduct toward Plaintiff was unwanted and unwarranted.

       60.     SEALS persisted in his conduct toward Plaintiff despite being told it was offensive

and being asked by Plaintiff to stop.

       61.     SEALS’ conduct toward Plaintiff was repeated, persistent, public, and done in the

workplace, during working hours, and in the presence of other MONTROSE and CTEH employees

and Hightown production personnel employed by LIONSGATE ENTERTAINMENT,

LIONSGATE TELEVISION, BRUCKHEIMER, BRUCKHEIMER FILMS, and BRUCKHEIMER

TELEVISION.

       62.     CTEH,      MONTROSE,         LIONSGATE        ENTERTAINMENT,           LIONSGATE

TELEVISION, BRUCKHEIMER, BRUCKHEIMER FILMS, and BRUCKHEIMER TELEVISION

were each aware of SEALS’ conduct toward Plaintiff as it was happening.

       63.     CTEH,      MONTROSE,         LIONSGATE        ENTERTAINMENT,           LIONSGATE

TELEVISION, BRUCKHEIMER, BRUCKHEIMER FILMS, and BRUCKHEIMER TELEVISION

each had a duty to use reasonable care to safeguard the well-being of all people working on the

                                                  10
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 11 of 81




production of Hightown, including employees of its contractors and sub-contractors, including

Plaintiff, by preventing SEALS’ conduct toward Plaintiff through discipline and/or removal of him

from the workplace.

       64.     On or about February 13, 2021, Plaintiff spoke with SELBY to inform him about the

situation with SEALS.

       65.     During their conversation on or about February 13, 2021, SELBY requested that

Plaintiff take over SEALS’ job duties, including contact tracing and testing coordination of

Hightown production staff and actors, effectively making Plaintiff the acting Health and Safety

Supervisor, although her pay was unchanged and substantially less than that paid by MONTROSE,

through its subsidiary, CTEH to male workers performing the same duties and responsibilities.

       66.     During their conversation on or about February 13, 2021, Plaintiff reminded SELBY

that she was still being paid at the rate of $25.00 per hour, and she demanded pay commensurate

with her male counterparts, especially in light of her newly assigned responsibilities. MONTROSE,

through its subsidiary, CTEH, did not increase Plaintiff’s pay.

       67.     Between February 15 and 16, 2021, the production of Hightown was placed on pause

so that the entire case and crew could be tested for Covid-19.

       68.     As requested by MONTROSE, through its subsidiary, CTEH, and SELBY, Plaintiff

successfully managed and coordinated the Covid-19 testing of the cast and crew during the pause in

production.

       69.     On or about February 16, 2021, SEALS contacted Plaintiff and drunkenly abused and

denigrated her for managing and coordinating the cast and crew testing and accused Plaintiff of

attempting to steal his job.



                                                11
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 12 of 81




        70.    On or about February 18, 2021, Plaintiff formally complained to MONTROSE,

through its Director of Human Resources, Jack Melvin, and to SELBY about SEALS’ conduct

toward Plaintiff.

        71.    On or about February 19, 2021, MONTROSE, through its subsidiary, CTEH, advised

Plaintiff that a new Health Safety Supervisor, BECKNER, would be replacing SEALS on the

production of Hightown following SEALS’ transfer to Arkansas.

        72.    Following his transfer to Arkansas, SEALS continued to have supervisory authority

over Plaintiff, and he continued to engage in a practice of hostile behavior against Plaintiff by

making derogatory and uncomplimentary statements about Plaintiff to other employees and

managers of MONTROSE and its subsidiary, CTEH.

        73.    On or about February 25, 2021, BECKNER arrived in North Carolina to begin

working on the production of Hightown.

        74.    Following his arrival in North Carolina, BECKNER was required to quarantine for a

period of time before he could be on set and interact with the cast and production staff.

        75.    During BECKNER’S quarantine, Plaintiff performed the duties of Health and Safety

Supervisor on the set of Hightown while still being paid $25.00 per hour.

        76.    On or about March 1, 2021, BECKNER began working on the set of Hightown with

Plaintiff.

        77.    On or about March 2, 2021, BECKNER bean making inappropriate comments to

Plaintiff of a sexual nature regarding her appearance, and her level of desirability to him.

        78.    On or about March 2, 2021, BECKNER, began a pattern of inappropriate conduct

toward Plaintiff, including throwing things between Plaintiff’s breasts, touching Plaintiff’s breasts,

touching Plaintiff’s buttocks, asking Plaintiff to dinner at fine dining establishments including

                                                 12
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 13 of 81




Nikki’s Sushi and Ruth’s Chris steakhouse in Wilmington, North Carolina, and attempting to

intoxicate Plaintiff with alcohol for sexual purposes.

       79.     On or about March 5, 2021, BECKNER asked Plaintiff to accompany him to a

restaurant for drinks after working hours to discuss work, and Plaintiff agreed.

       80.     On or about March 5, 2021, BECKNER attempted to kiss Plaintiff on multiple

occasions and asked her to have sex with him. Plaintiff refused.

       81.     During the early morning hours of March 6, 2021, BECKNER sent Plaintiff a text

message asking for her hotel room number and stating that he was aroused and wanted to have sex

with her. Plaintiff responded that BECKNER should go back to bed.

       82.     On or about March 6, 2021, BECKNER gifted Plaintiff with a manicure and pedicure

and then took her to dinner at Ruth’s Chris followed by drinks at a local bar. During their

conversation, BECKNER told Plaintiff about a feature film production in Georgia and stated that if

things worked out between them, she could work on that production, which would entail a

substantial raise in Plaintiff’s status at MONTROSE, through its subsidiary, CTEH, and pay.

       83.     During said night, BECKNER repeatedly purchased alcoholic beverages for Plaintiff

and demanded that she drink them in an attempt to intoxicate her for sexual purposes.

       84.     As a result of BECKNER’S plying Plaintiff with alcohol, Plaintiff became intoxicated

and unable to make decisions regarding consent for sexual activity.

       85.     On or about March 6, 2021, BECKNER accompanied Plaintiff back to her hotel room

where he forcibly kissed Plaintiff and then engaged in aggressive sexual intercourse with Plaintiff.

       86.     BECKNER’S conduct toward Plaintiff on the night of March 6, 2021, was unwanted

and unwarranted.



                                                13
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 14 of 81




       87.     Between March 7 and 12, 2021, BECKNER sent Plaintiff repeated text messages

making comments about having sex with her and discussing various places where he wanted to do

that, which included locations on the job site and during working hours.

       88.     On or about March 8, 2021, BECKNER asked Plaintiff whether she wanted to take a

“Zoom meeting” under his desk, thereby implying that she should perform sex acts upon him, which

made Plaintiff uncomfortable in the workplace.

       89.     On or about March 8, 2021, BECKNER touched Plaintiff in a sexual manner on her

buttocks and sent text messages to Plaintiff stating that he wanted to have sex with her.

       90.     Between March 7 and 12, 2021, BECKNER had conversations with Plaintiff about

her future with MONTROSE, through its subsidiary, CTEH, and BECKNER stated he could help

Plaintiff get a “great position” on a movie production project.

       91.     In March 2021, BECKNER knew that Plaintiff had children, that she was in the

process of getting divorced, and that Plaintiff’s husband was unemployed, making Plaintiff the sole

earner of her household and financially dependent on her continued employment with MONTROSE,

through its subsidiary, CTEH.

       92.     On or about March 11, 2021, BECKNER met Plaintiff in the lobby bar of her hotel

and again discussed her future with MONTROSE, through its subsidiary, CTEH, including the

things he could do for her at the company to increase her pay and status with the company.

       93.     During their discussion in the hotel lobby bar, BECKNER repeatedly purchased

alcoholic beverages for Plaintiff’s consumption and demanded that she drink them in an attempt to

intoxicate her for sexual purposes.

       94.     As a result of BECKNER’S plying Plaintiff with alcohol, Plaintiff became intoxicated

and unable to consent for sexual activity.

                                                 14
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 15 of 81




       95.     On or about March 11, 2021, BECKER took Plaintiff to his hotel room where he

engaged in sexual intercourse with her.

       96.     BECKNER’S conduct toward Plaintiff on the night of March 11, 2021, was unwanted

and unwarranted.

       97.     On or about March 12, 2021, BECKNER advised Plaintiff that he knew what her next

assignment at MONTROSE, through its subsidiary, CTEH, would be, suggested that it would be a

promotion to a feature film production with a significant pay raise, but BECKNER refused to tell

Plaintiff exactly what her next assignment would be.

       98.     On or about March 16, 2021, BECKNER met Plaintiff in a parking lot and requested

that she leave work with him to have sex. Plaintiff refused.

       99.     On or about March 17, 2021, BECKNER advised Plaintiff that he was able to get

SELBY and MONTROSE, through its subsidiary, CTEH, to approve her to work on the production

of the feature film “Sacred Motivation” a/k/a “Emancipation,” as a Health and Safety Manager,

which was being produced Savanah, Georgia,

       100.    On or about March 17, 2021, BECKNER told Plaintiff that he would be working on

Emancipation, and that he wanted her to accept that assignment.

       101.    On or about March 17, 2021, BECKNER advised Plaintiff that MONTROSE, through

its subsidiary, CTEH, was willing to pay Plaintiff $40.00 to be the Health and Safety Manager on the

production of Emancipation, which was an increase from her then current pay rate of $25.00 per

hour if she agreed to accept the assignment to work on Emancipation.

       102.    On or about March 17, 2021, MONTROSE, through its subsidiary, CTEH, paid male

Health and Safety Managers working on feature film production a minimum of $75.00 per hour, and

Plaintiff requested equal pay.

                                                15
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 16 of 81




       103.    On or about March 17, 2021, Plaintiff protested to BECKNER that $40.00 per hours

was significantly less than male co-workers at MONTROSE and its subsidiary, CTEH, were paid to

perform the same job title, duties and responsibilities, and Plaintiff demanded equal pay.

       104.    On or about March 17, 2021, BECKNER told Plaintiff that MONTROSE, through its

subsidiary, CTEH, was not willing to pay her more than $60.00 per hour to perform the work of

Health and Safety Manager on the production of the feature film, Emancipation. Despite this

violation of the Equal Pay Act of 1963, 29 U.S.C. 206(d), Plaintiff felt she had no choice but to

accept that position at $60.00 per hour or face unemployment and the inability to support her family.

       105.    Plaintiff was told by BECKNER, SELBY, and others working for MONTROSE,

through its subsidiary, CTEH, that her promotion was based on merit and her ability to fill in for

SEALS during the production of Hightown and her ability to manage, coordinate and accomplish

Covid-19 testing of the entire cast and crew of Hightown over a two-day period thereby avoiding an

undue delay in production.

       106.    During the evening of March 17, 2021, BECKNER knocked on Plaintiff’s hotel room

door while she was taking a shower.

       107.    Thinking BECKNER wanted to discuss Plaintiff’s new assignment working on

Emancipation, Plaintiff left the shower, put on a robe, and opened the door of her hotel room for

BECKNER.

       108.    Upon seeing Plaintiff in a bathrobe, BECKNER forced his way into Plaintiff’s hotel

room, forcefully kissed Plaintiff, physically forced plaintiff into the bedroom area of her hotel room,

removed his pants, forced Plaintiff to her knees, forcibly inserted his erect penis into Plaintiff’s

mouth, threw Plaintiff onto the bed of her hotel room face down, and forcefully inserted his erect

penis into Plaintiff’s anus until he climaxed.

                                                  16
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 17 of 81




        109.   At all times during the above, Plaintiff never gave consent for any of BECKNER’S

activities.

        110.   BECKNER’S conduct toward Plaintiff on the night of March 17, 2021, was unwanted

and unwarranted.

        111.   Upon completing the above, BECKNER told Plaintiff: “Now that we’ve got that out

of the way, see you at dinner.” Plaintiff responded by explicitly and unequivocally telling

BECKNER to never touch her again.

        112.   On or about March 18, 2021, BECKNER left North Carolina to begin working for

MONTROSE, through its subsidiary, CTEH, as the Health and Safety Supervisor for the production

of Emancipation in Georgia.

        113.   Before leaving North Carolina, BECKNER met Plaintiff in a parking lot, apologized

for his actions, and repeated his desire that she follow him across state lines from North Carolina to

Georgia to work under him as the Health and Safety Manager for MONTROSE, through its

subsidiary, CTEH, on the production of Emancipation with a promise that he could “behave.”

        114.   After leaving North Carolina, BECKNER sent Plaintiff several messages

acknowledging what he did to Plaintiff there was wrong and repeated his promise such conduct

would not occur again.

        115.   Production of Hightown wrapped up in late March 2021.

        116.   On or about April 18, 2021, Plaintiff left North Carolina and moved to Savanah,

Georgia to work on the production of Emancipation.

        117.   On or about April 18, 2021, Plaintiff learned that APPLE, APPLE PRODUCTIONS,

and APPLE STUDIOS decided to transfer the production of Emancipation from Savanah, Georgia to

New Orleans, Louisiana.

                                                 17
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 18 of 81




       118.    On or about April 24, 2021, Plaintiff arrived in New Orleans, Louisiana to begin her

assignment with MONTROSE, through its subsidiary, CTEH, as the Health and Safety Manager for

the production of Emancipation.

       119.    On or about April 24, 2021, around 9:30 p.m., Plaintiff arrived at her hotel room in

New Orleans, Louisiana to find BECKNER waiting for her at the front desk.

       120.    Upon seeing Plaintiff enter the hotel lobby, BECKNER approached Plaintiff,

attempted to force himself on her, touched her in a sexually inappropriate manner, grabbed her

buttocks, and attempted to kiss her.

       121.    Plaintiff rejected BECKNER’S advances in the lobby of her hotel room both orally

and by physically moving his hands away from her person.

       122.    Following Plaintiff’s rejection in the lobby of her hotel room, BECKNER offered

cash to Plaintiff by forcibly placing the bills into her brassiere and touching her breasts.

       123.    On or about May 2, 2021, Plaintiff was approached by MONTROSE and CTEH

employee, Jessica Cook, who was working on the production of Emancipation as a Testing

Coordinator, about issues she was having with BECKNER.

       124.    Plaintiff confided in Cook about her own issues involving BECKNER, and Plaintiff

shared some of BECKNER’S sexually inappropriate text messages with Cook.

       125.    On or about May 3, 2021, BECKER met with Plaintiff and again attempted to put

$500 in cash into Plaintiff’s brassiere and touch her breasts.

       126.    On or about May 10, 2021, BECKNER sent a text message to Plaintiff suggesting

that they “go upstairs” for sex. Plaintiff declined.

       127.    Throughout the month of May 2021, BECKNER made repeated overtures toward

Plaintiff to have sex with him, and Plaintiff rejected all of them.

                                                  18
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 19 of 81




          128.   On or about May 21, 2021, following the filing by Cook of a formal complaint at

MONTOSE’S headquarters in Arkansas against BECKNER, which included disclosure of the

inappropriate text messages BECKNER sent to Plaintiff, MONTROSE, through its subsidiary,

CTEH, removed Cook from working on the production of Emancipation.

          129.   During the first week of June 2021, BECKER advised Plaintiff that he had “finally

given up” trying to have sex with her and implied that he would act to have Plaintiff terminated with

MONTROSE and CTEH.

          130.   During the first week of June 2021, BECKNER began to criticize Plaintiff’s work and

managerial style for the first time after having previously praised Plaintiff for exactly those same

things.

          131.   Also beginning around the first week of June 2021, the Testing Coordinators at

MONTROSE through its subsidiary, CTEH, ceased communication with Plaintiff, making it

extremely difficult for her to perform her job.

          132.   Plaintiff confronted BECKNER with the fact that the Testing Coordinators were not

communicating with Plaintiff, but BECKNER refused to support Plaintiff or intervene on her behalf.

          133.   On or about June 16, 2021, SELBY, who works from MONTROSE’S headquarters in

Arkansas, flew to New Orleans and had a personal meeting with BECKNER.

          134.   On or about June 18, 2021, and despite her fears of retaliation and/or discharge,

Plaintiff attempted to formally report BECKNER’S conduct to SELBY and demand that he and

MONTROSE, through its subsidiary, CTEH, take remedial action to address it, by requesting a

meeting with SELBY.

          135.   On or about June 18, 2021, and despite her fears of retaliation and/or discharge,

Plaintiff attempted to formally demand equal pay commensurate with her male co-workers

                                                  19
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 20 of 81




performing the duties and responsibilities of a Health and Safety Manager on the production of a

feature film, by requesting a meeting with SELBY.

       136.    On or about June 18, 2021, SELBY refused to meet with Plaintiff, refused to take any

remedial action against BECKNER, refused to increase Plaintiff’s pay to comport with that being

paid to her male counterparts performing the same job title, duties and responsibilities, and

threatened Plaintiff with job termination if she escalated her complaints above him.

       137.    On or about June 19, 2021, Plaintiff’s access to MONTROSE and CTEH, email and

intranet services was cut off.

       138.    On or about June 21, 2021, Plaintiff was informed by Jack Melvin, MONTROSE’s

Director of Human Resources at its subsidiary, CTEH, that Plaintiff was being removed from the

production of Emancipation, and that Plaintiff was being demoted from Health and Services

Manager to Rapid Responder with a corresponding reduction in pay.

       139.    During her conversation with Jack Melvin, he advised Plaintiff that neither

MONTROSE nor its subsidiary, CTEH, had any work available for a Rapid Responder, Plaintiff’s

position with the company was not guaranteed, and that she should consider herself as an unpaid,

“on call” worker.

       140.    On June 21, 2021, Melvin, at the insistence and orchestration of SEALS, SELBY and

BECKNER, Plaintiff’s employment was terminated with MONTROSE and its subsidiary, CTEH.

       141.    During her conversation with Jack Melvin, Plaintiff protested that she had

successfully completed all of her job duties and MONTROSE and CTEH’S clients were happy with

her. Melvin acknowledged the truth of both claims.




                                                20
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 21 of 81




       142.    During her conversation with Jack Melvin, Plaintiff requested a statement from

MONTROSE, through its subsidiary, CTEH, outlining why she was being removed from

employment with the company, but the company refused to provide any such statement.

       143.    SELBY’S job duties, as Vice President and Director of Innovative Services at

MONTROSE, through its subsidiary, CTEH, included using reasonable care to safeguard the well-

being of the employees he supervised, including Plaintiff when she worked on the productions of

Hightown and Emancipation.

       144.    BECKNER’S job duties, as Health and Safety Supervisor at MONTROSE, through

its subsidiary, CTEH, during the production of Hightown and Emancipation, included using

reasonable care to safeguard the well-being of the employees he supervised, including Plaintiff.

       145.    BECKNER’S communications with Plaintiff between March and June 2021 made it

clear to her that her future with MONTROSE, and CTEH, was dependent upon her relationship with

BECKNER and his satisfaction with same.

       146.    During her time in North Carolina, SEALS was Plaintiff’s supervisor while he held

the position of Health and Safety Supervisor for the Innovative Services division of MONTROSE,

through its subsidiary, CTEH.

       147.    SEALS’ job duties included using reasonable care to safeguard the well-being of his

co-workers, including Plaintiff, by abstaining in inappropriate conduct involving sexual harassment.

       148.    After her promotion from Testing Coordinator to Health and Services Manager on or

about March 17, 2021, Plaintiff continued to be supervised by BECKNER, who was MONOTROSE

and CTEH’S Health and Safety Supervisor, and SELBY, who continued to be MONTROSE’S Vice

President and Director of Innovative Services for its subsidiary, CTEH.



                                                21
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 22 of 81




       149.    Following her promotion on March 17, 2021, Plaintiff was not paid at a rate

commensurate with that of her male co-workers performing the same job, and she was, in fact, paid

significantly less than her male co-workers performing the same job duties and responsibilities.

       150.    Following her promotion on March 17, 2021, Plaintiff requested equal pay from

MONTROSE and CTEH through SELBY and BECKNER.

       151.    Plaintiff’s requests for equal pay were rejected.

       152.    Beginning during her work on Hightown in North Carolina and continuing to her next

assignment at in New Orleans, Louisiana, BECKNER began making harassing and inappropriate

comments of a sexual nature to Plaintiff.

       153.    BECKNER’S conduct toward Plaintiff constituted an ongoing and continuous pattern

and practice or sexual grooming, sexual intimidation, employment intimidation, financial

intimidation, and unwanted sexual battery that began in North Carolina and continued after

plaintiff’s assignment by MONTROSE, through its subsidiary, CTEH, to New Orleans, Louisiana.

       154.    As part of his ongoing and continuous pattern and practice of grooming and

intimidating Plaintiff, BECKNER, was sexually flirtatious with Plaintiff, referred to Plaintiff as

someone who was “special” to him, took plaintiff to dinner at expensive restaurants, repeatedly told

Plaintiff through text messages and orally that he desired to have sex with Plaintiff, bought alcoholic

beverages for Plaintiff’s consumption in an attempt to intoxicate her for sexual purposes, threatened

Plaintiff that her job security and her future with MONTROSE and CTEH was dependent upon her

relationship with him and his satisfaction with same, forcefully kissed plaintiff against her will,

forcefully touched Plaintiff in a sexual manner against her will, and forcefully engaged in sexual

intercourse with Plaintiff against her will on multiple occasions.

       155.    BECKNER’S conduct toward Plaintiff was unwanted and unwarranted.

                                                  22
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 23 of 81




       156.    BECKNER persisted in his conduct toward Plaintiff despite being told it was

offensive and being asked by Plaintiff to stop.

       157.    Other than the episodes of sexual intercourse, BECKNER’S conduct toward Plaintiff

was done in public, on the job site, during working hours, and in the presence of other

CTEH/MONTROSE employees and Hightown production personnel employed by LIONSGATE

ENTERTAINMENT, LIONSGATE TELEVISION, BRUCKHEIMER, BRUCKHEIMER FILMS,

and BRUCKHEIMER TELEVISION.

       158.    CTEH,     MONTROSE,         LIONSGATE         ENTERTAINMENT,           LIONSGATE

TELEVISION, BRUCKHEIMER, BRUCKHEIMER FILMS, and BRUCKHEIMER TELEVISION

were each aware of BECKNER’S conduct toward Plaintiff as it was happening.

       159.    CTEH,     MONTROSE,         LIONSGATE         ENTERTAINMENT,           LIONSGATE

TELEVISION, BRUCKHEIMER, BRUCKHEIMER FILMS, and BRUCKHEIMER TELEVISION

each had a duty to use reasonable care to safeguard the well-being of all people working on the

production of Hightown, including employees of its contractors and sub-contractors, including

Plaintiff, by preventing BECKNER’S conduct toward Plaintiff through discipline and/or removal of

him from the workplace

       160.    Defendants,     CTEH,      MONTROSE,         LIONSGATE         ENTERTAINMENT,

LIONSGATE TELEVISION, BECKNER, BECKNER FILMS, and BECKNER TELEVISION each

had the authority to control all aspects of production on Hightown, including the ability to control

the method and manner of Plaintiff’s job responsibilities, Plaintiff’s hours of work, which employees

and other personnel were assigned to work with Plaintiff, and the authority to censure, reprimand,

and remove employees of MONTROSE and CTEH from the jobsite.



                                                  23
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 24 of 81




       161.    When production of Hightown ended in North Carolina, BECKNER, used his

position at MONTROSE, through its subsidiary, CTEH, to arrange for Plaintiff and himself to be re-

assigned to the production of the feature film Emancipation in New Orleans, Louisiana.

       162.    BECKNER intimidated and coerced Plaintiff into accepting the transfer by

threatening that if she refused to follow him there, her career at MONTROSE and CTEH could be

adversely impacted and/or terminated.

       163.    After Plaintiff accepted the assignment to continue her employment with

MONTROSE, through its subsidiary, CTEH, to work on the production of Emancipation in New

Orleans, Louisiana, BECKNER continued his ongoing and continuous pattern and practice of sexual

grooming, sexual intimidation, employment intimidation, financial intimidation, and unwanted

sexual battery against Plaintiff.

       164.    Emancipation is a feature film produced by Defendants, APPLE, INC., APPLE

STUDIOS and APPLE PRODUCTIONS.

       165.    As part of his ongoing and continuous pattern and practice of grooming and

intimidating Plaintiff, and after Plaintiff moved to Louisiana to work on Emancipation, BECKNER,

continued to be sexually flirtatious with Plaintiff, referred to Plaintiff as someone who was “special”

to him, repeatedly told Plaintiff through text messages and orally that he desired to have sex with

Plaintiff, offered to purchase alcoholic beverages for Plaintiff’s consumption in an attempt to

intoxicate her for sexual purposes, threatened Plaintiff that her job security and her future with

MONTROSE and CTEH was dependent upon her relationship with him and his satisfaction with

same, forcefully kissed plaintiff against her will, and forcefully touched Plaintiff in a sexual manner

against her will.



                                                  24
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 25 of 81




        166.    BECKNER’S conduct toward Plaintiff in Louisiana continued to be unwanted and

unwarranted by Plaintiff.

        167.    BECKNER persisted in his conduct toward Plaintiff in Louisiana despite being told it

was offensive and being asked by Plaintiff to stop.

        168.    BECKNER’S conduct toward Plaintiff in Louisiana was done in public, on the job

site, during working hours, and in the presence of other MONTROSE and CTEH employees as well

as Emancipation production personnel employed by APPLE, INC., APPLE STUDIOS, and APPLE

PRODUCTIONS.

        169.    CTEH, MONTROSE, APPLE, INC., APPLE STUDIOS, and APPLE

PRODUCITONS were each aware of BECKNER’S conduct toward Plaintiff as it was happening.

        170.    Defendants, CTEH, MONTROSE, APPLE, INC., APPLE STUDIOS, and APPLE

PRODUCTIONS each had the authority to control all aspects of production on Emancipation,

including the ability to control the method and manner of Plaintiff’s job responsibilities, Plaintiff’s

hours of work, which employees and other personnel were assigned to work with Plaintiff, and the

authority to censure, reprimand, and remove employees of MONTROSE and CTEH from the jobsite.

        171.    CTEH, MONTROSE, APPLE, INC., APPLE STUDIOS, and APPLE

PRODUCTIONS each had a duty to use reasonable care to safeguard the well-being of all people

working on the production of Emancipation, including employees of its contractors and sub-

contractors, including Plaintiff, by preventing BECKNER’S conduct toward Plaintiff through

discipline and/or removal of him from the workplace.

        172.    On or about June 19, 2021, MONTROSE, through its subsidiary, CTEH. demoted

Plaintiff in job position, title, and pay after Plaintiff made it clear that she was unwilling to engage in

a sexual relationship with BECKNER, and in retaliation for that decision.

                                                    25
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 26 of 81




       173.    On or about June 21, 2021, MONTROSE, through its subsidiary, CTEH, effectively

terminated Plaintiff’s employment with the company in retaliation for Plaintiff’s refusal to engage in

a sexual relationship with BECKNER.

       174.    At all times relevant to this matter, MONTROSE, through its subsidiary, CTEH,

cultivated, fostered, and encouraged an environment in its Innovative Services division, which was

condoned and actively managed by SELBY, for management personnel to use their positions of

power, wealth, and authority to pray upon younger employees for sexual gratification while working

on site during productions of television shows and feature films, including the promotion of those

younger workers who were willing to participate in such behavior and the termination of those who

were not.

       175.    At all times relevant to this matter, MONTROSE, through its subsidiary, CTEH,

cultivated, fostered, and encouraged an environment in its Innovative Services division, which was

condoned and actively managed by SELBY, whereby male workers were paid disproportionately

more than female workers performing the same jobs, job titles, and job responsibilities.

                           COUNT I - NEGLIGENT SUPERVISION
                            DIRECTED AT DEFENDANT CTEH

       176.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       177.    At all relevant times, CTEH had a duty to exercise reasonable care in the

supervision of its agents and/or employees, including SEALS, SELBY and BECKNER.

       178.    At all times relevant, CTEH had a duty to supervise and protect its

employees, including Plaintiff, against unwanted belligerent and harassing behavior on the

jobsite, including the making of harassing and inappropriate comments of a sexual nature, such as

                                                 26
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 27 of 81




perpetrated upon Plaintiff by SEALS.

       179.   At all times relevant, CTEH had a duty to supervise and protect its employees,

including Plaintiff, against sexual grooming, sexual intimidation, employment intimidation, and

unwanted sexual battery, such as perpetrated upon Plaintiff by BECKNER.

       180.   At all times relevant, CTEH had the authority to take action to prevent,

protect, and/or intervene when it learned that its employees were at risk of harm and/or

being victimized by belligerent and harassing behavior, sexual grooming, sexual intimidation,

employment intimidation, and sexual battery.

       181.   At all times relevant, CTEH knew, or in the exercise of ordinary care should

have known, that SEALS was engaging in belligerent and sexually harassing behavior

toward Plaintiff.

       182.   At all times relevant, CTEH knew, or in the exercise of ordinary care should

have known, that BECKNER was engaging in activities of sexual grooming, sexual

intimidation, employment intimidation, and sexual battery toward Plaintiff.

       183.   In violation of its duties as aforesaid, CTEH committed one or more of the

following acts or omissions:

              (a)     Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

              (b)     Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,
                      and sexual battery toward Plaintiff;

              (c)     Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

              (d)     Failed to protect Plaintiff from the reasonably foreseeable threat posed
                      by SEALS and BECKNER;


                                               27
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 28 of 81




               (e)    Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

               (f)    Failed to take action against its employees, including SEALS and
                      BECKNER, when it knew or reasonably should have known
                      interventional action was necessary to address and prevent their
                      behavior of engaging in belligerence, sexual harassment, sexual
                      grooming, sexual intimidation, employment intimidation, and sexual
                      battery against Plaintiff;

       184.    As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by CTEH, Plaintiff was caused to sustained severe, permanent

physical, mental, and emotional injuries; Plaintiff continues and will in the future continue

to suffer great pain and mental anguish; Plaintiff was, and will in the future be, unable to

attend to her usual affairs, duties, and occupation; Plaintiff has been, and in the future will be

required to incur expenses for medical and psychological treatment arising from her injuries;

and the Plaintiff was otherwise injured or damaged.

                         COUNT II - NEGLIGENT SUPERVISION
                        DIRECTED AT DEFENDANT MONTROSE

       185.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       186.    At all relevant times, MONTROSE had a duty to exercise reasonable care in

the supervision of its agents and/or employees, including SEALS, SELBY and

BECKNER.

       187.    At all times relevant, MONTROSE had a duty to supervise and protect its

employees, including Plaintiff, against unwanted belligerent and harassing behavior on the

jobsite, including the making of harassing and inappropriate comments of a sexual nature, such as


                                               28
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 29 of 81




perpetrated upon Plaintiff by SEALS.

       188.   At all times relevant, MONTROSE had a duty to supervise and protect its

employees, including Plaintiff, against sexual grooming, sexual intimidation, employment

intimidation, and unwanted sexual battery, such as perpetrated upon Plaintiff by BECKNER.

       189.   At all times relevant, MONTROSE had the authority to take action to prevent,

protect, and/or intervene when it learned that its employees were at risk of harm and/or

being victimized by belligerent and harassing behavior, sexual grooming, sexual intimidation,

employment intimidation, and sexual battery.

       190.   At all times relevant, MONTROSE knew, or in the exercise of ordinary care

should have known, that SEALS was engaging in belligerent and sexually harassing

behavior toward Plaintiff.

       191.   At all times relevant, MONTROSE knew, or in the exercise of ordinary care

should have known, that BECKNER was engaging in activities of sexual grooming, sexual

intimidation, employment intimidation, and sexual battery toward Plaintiff.

       192.   In violation of its duties as aforesaid, MONTROSE committed one or more of

the following acts or omissions:

              (a)     Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

              (b)     Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,
                      and sexual battery toward Plaintiff;

              (c)     Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

              (d)     Failed to protect Plaintiff from the reasonably foreseeable threat posed
                      by SEALS and BECKNER;


                                               29
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 30 of 81




               (e)    Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

               (f)    Failed to take action against its employees, including SEALS and
                      BECKNER, when it knew or reasonably should have known
                      interventional action was necessary to address and prevent their
                      behavior of engaging in belligerence, sexual harassment, sexual
                      grooming, sexual intimidation, employment intimidation, and sexual
                      battery against Plaintiff;

       193.    As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by MONTROSE, Plaintiff was caused to sustained severe, permanent

physical, mental, and emotional injuries; Plaintiff continues and will in the future continue

to suffer great pain and mental anguish; Plaintiff was, and will in the future be, unable to

attend to her usual affairs, duties, and occupation; Plaintiff has been, and in the future will be

required to incur expenses for medical and psychological treatment arising from her injuries;

and the Plaintiff was otherwise injured or damaged.

       WHEREFORE, Plaintiff, ALICIA KELLY, prays for judgment against Defendant

MONTROSE inan amount in excess of $75,000.00, plus the costs of this lawsuit.

                         COUNT III - NEGLIGENT SUPERVISION
                          DIRECTED AT DEFENDANT SELBY

       194.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       195.    At all relevant times, SELBY had a duty to exercise reasonable care in the

supervision of the agents and/or employees of CTEH under his direct supervision and

authority, including SEALS and BECKNER.

       196.    At all times relevant, SELBY had a duty to supervise and protect the


                                               30
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 31 of 81




employees of MONTROSE and its subsidiary, CTEH, under his direct supervision,

including Plaintiff, against unwanted belligerent and harassing behavior on the jobsite, including

the making of harassing and inappropriate comments of a sexual nature, such as perpetrated upon

Plaintiff by SEALS.

       197.    At all times relevant, MONTROSE had a duty to supervise and protect the

employees of MONTROSE and its subsidiary, CTEH, under his direct supervision,

including Plaintiff, against sexual grooming, sexual intimidation, employment intimidation, and

unwanted sexual battery, such as perpetrated upon Plaintiff by BECKNER.

       198.    At all times relevant, SLEBY had the authority to take action to prevent,

protect, and/or intervene when he learned that employees of MONTROSE and/or CTEH

were at risk of harm and/or being victimized by belligerent and harassing behavior, sexual

grooming, sexual intimidation, employment intimidation, and sexual battery.

       199.    At all times relevant, SELBY knew, or in the exercise of ordinary care should

have known, that SEALS was engaging in belligerent and sexually harassing behavior

toward Plaintiff.

       200.    At all times relevant, SELBY knew, or in the exercise of ordinary care should

have known, that BECKNER was engaging in activities of sexual grooming, sexual

intimidation, employment intimidation, and sexual battery toward Plaintiff.

       201.    In violation of its duties as aforesaid, SELBY committed one or more of the

following acts or omissions:

               (a)    Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

               (b)    Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,

                                               31
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 32 of 81




                      and sexual battery toward Plaintiff;

               (c)    Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

               (d)    Failed to protect Plaintiff from the reasonably foreseeable threat posed
                      by SEALS and BECKNER;

               (e)    Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

               (f)    Failed to take action against employees of MONTROSE and/or CTEH
                      under his direct supervision, including SEALS and BECKNER, when
                      he knew or reasonably should have known interventional action was
                      necessary to address and prevent their behavior of engaging in
                      belligerence, sexual harassment, sexual grooming, sexual intimidation,
                      employment intimidation, and sexual battery against Plaintiff;

       202.    As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by SELBY, Plaintiff was caused to sustained severe, permanent

physical, mental, and emotional injuries; Plaintiff continues and will in the future continue

to suffer great pain and mental anguish; Plaintiff was, and will in the future be, unable to

attend to her usual affairs, duties, and occupation; Plaintiff has been, and in the future will be

required to incur expenses for medical and psychological treatment arising from her injuries;

and the Plaintiff was otherwise injured or damaged.

                        COUNT IV - NEGLIGENT SUPERVISION
                     DIRECTED AT LIONSGATE ENTERTAINMENT

       203.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       204.    At all relevant times, LIONSGATE ENTERTAINMENT had a duty to exercise

reasonable care in the supervision of its subsidiaries, contractors, sub-contractors, and their


                                               32
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 33 of 81




employees working on the production of the Hightown television show in Wilmington,

North Carolina.

       205.   At all times relevant, LIONSGATE ENTERTAINMENT had a duty to

supervise and protect the employees of its contractors and sub-contractors, including the

employees     of    MONTROSE          and    CTEH      who    were    under    LIONSGATE

ENTERTAINMENT’S direct supervision and control, including Plaintiff, against unwanted

belligerent and harassing behavior on the jobsite, including the making of harassing and

inappropriate comments of a sexual nature, such as perpetrated upon Plaintiff by SEALS.

       206.   At all times relevant, LIONSGATE ENTERTAINMENT had a duty to

supervise and protect the employees of its contractors and sub-contractors, including the

employees     of    MONTROSE          and    CTEH      who    were    under    LIONSGATE

ENTERTAINMENT’S direct supervision and control, including Plaintiff, against sexual

grooming, sexual intimidation, employment intimidation, and unwanted sexual battery, such as

perpetrated upon Plaintiff by BECKNER.

       207.   At all times relevant, LIONSGATE ENTERTAINMENT had the authority to

take action to prevent, protect, and/or intervene when it learned that employees of

MONTROSE and/or CTEH under its direct supervision and control were at risk of harm

and/or being victimized by belligerent and harassing behavior, sexual grooming, sexual

intimidation, employment intimidation, and sexual battery.

       208.   At all times relevant, LIONSGATE ENTERTAINMENT knew, or in the

exercise of ordinary care should have known, that SEALS was engaging in belligerent and

sexually harassing behavior toward Plaintiff.

       209.   At all times relevant, LIONSGATE ENTERTAINMENT knew, or in the

                                              33
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 34 of 81




exercise of ordinary care should have known, that BECKNER was engaging in activities of

sexual grooming, sexual intimidation, employment intimidation, and sexual battery toward Plaintiff.

       210.    In violation of its duties as aforesaid, LIONSGATE ENTERTAINMENT

committed one or more of the following acts or omissions:

               (a)     Failed to supervise SEALS and prevent him engaging in belligerent
                       and sexually harassing behavior toward Plaintiff;

               (b)     Failed to supervise BECKNER and prevent him from engaging in
                       activities of sexual grooming, sexual intimidation, employment intimidation,
                       and sexual battery toward Plaintiff;

               (c)     Disregarded the continuous and ongoing risk of harm that SEALS and
                       BECKNER posed to Plaintiff's well-being and safety;

               (d)     Failed to protect Plaintiff from the reasonably foreseeable threat posed
                       by SEALS and BECKNER;

               (e)     Fostered a workplace environment where belligerence, sexual
                       harassment, sexual grooming, sexual intimidation, employment
                       intimidation, and sexual battery were allowed against female workers;
                       and

               (f)     Failed to take action against MONTROSE and/or CTEH or any of
                       their     employees,       which   were      under     LIONSGATE
                       ENTERTAINMENT’S direct supervision and control, including
                       SEALS and BECKNER, when it knew or reasonably should have
                       known interventional action was necessary to address and prevent
                       their behavior of engaging in belligerence, sexual harassment, sexual
                       grooming, sexual intimidation, employment intimidation, and sexual
                       battery against Plaintiff;

       211.    As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by LIONSGATE ENTERTAINMENT, Plaintiff was caused to

sustained severe, permanent physical, mental, and emotional injuries; Plaintiff continues

and will in the future continue to suffer great pain and mental anguish; Plaintiff was, and will

in the future be, unable to attend to her usual affairs, duties, and occupation; Plaintiff has been,



                                                34
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 35 of 81




and in the future will be required to incur expenses for medical and psychological treatment

arising from her injuries; and the Plaintiff was otherwise injured or damaged.

                         COUNT V - NEGLIGENT SUPERVISION
                        DIRECTED AT LIONSGATE TELEVISION

       212.   Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       213.   At all relevant times, LIONSGATE TELEVISION had a duty to exercise

reasonable care in the supervision of its subsidiaries, contractors, sub-contractors, and their

employees working on the production of the Hightown television show in Wilmington,

North Carolina.

       214.   At all times relevant, LIONSGATE TELEVISION had a duty to supervise and

protect the employees of its contractors and sub-contractors, including the employees of

MONTROSE and CTEH who were under LIONSGATE TELEVISION’S direct supervision

and control, including Plaintiff, against unwanted belligerent and harassing behavior on the

jobsite, including the making of harassing and inappropriate comments of a sexual nature, such as

perpetrated upon Plaintiff by SEALS.

       215.   At all times relevant, LIONSGATE TELEVISION had a duty to supervise and

protect the employees of its contractors and sub-contractors, including the employees of

MONTROSE and CTEH who were under LIONSGATE TELEVISION’S direct supervision

and control, including Plaintiff, against sexual grooming, sexual intimidation, employment

intimidation, and unwanted sexual battery, such as perpetrated upon Plaintiff by BECKNER.

       216.   At all times relevant, LIONSGATE TELEVISION had the authority to take

action to prevent, protect, and/or intervene when it learned that employees of MONTROSE

                                               35
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 36 of 81




and/or CTEH under its direct supervision and control were at risk of harm and/or being

victimized by belligerent and harassing behavior, sexual grooming, sexual intimidation,

employment intimidation, and sexual battery.

       217.   At all times relevant, LIONSGATE TELEVISION knew, or in the exercise of

ordinary care should have known, that SEALS was engaging in belligerent and sexually

harassing behavior toward Plaintiff.

       218.   At all times relevant, LIONSGATE TELEVISION knew, or in the exercise of

ordinary care should have known, that BECKNER was engaging in activities of sexual

grooming, sexual intimidation, employment intimidation, and sexual battery toward Plaintiff.

       219.   In violation of its duties as aforesaid, LIONSGATE TELEVISION committed

one or more of the following acts or omissions:

              (a)     Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

              (b)     Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,
                      and sexual battery toward Plaintiff;

              (c)     Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

              (d)     Failed to protect Plaintiff from the reasonably foreseeable threat posed
                      by SEALS and BECKNER;

              (e)     Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

              (f)     Failed to take action against MONTROSE and/or CTEH or any of
                      their employees, which were under LIONSGATE TELEVISION’S
                      direct supervision and control, including SEALS and BECKNER,
                      when it knew or reasonably should have known interventional action
                      was necessary to address and prevent their behavior of engaging in


                                               36
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 37 of 81




                       belligerence, sexual harassment, sexual grooming, sexual intimidation,
                       employment intimidation, and sexual battery against Plaintiff;

       220.    As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by LIONSGATE TELEVISION, Plaintiff was caused to sustained

severe, permanent physical, mental, and emotional injuries; Plaintiff continues and will in

the future continue to suffer great pain and mental anguish; Plaintiff was, and will in the

future be, unable to attend to her usual affairs, duties, and occupation; Plaintiff has been, and in

the future will be required to incur expenses for medical and psychological treatment arising

from her injuries; and the Plaintiff was otherwise injured or damaged.

                         COUNT VI - NEGLIGENT SUPERVISION
                            DIRECTED AT BRUCKHEIMER

       221.    Plaintiff incorporates by reference Paragraphs 1 through 70 of this Complaint

as if fully set forth herein.

       222.    At all relevant times, BRUCKHEIMER had a duty to exercise reasonable care

in the supervision of its subsidiaries, contractors, sub-contractors, and their employees

working on the production of the Hightown television show in Wilmington, North Carolina.

       223.    At all times relevant, BRUCKHEIMER had a duty to supervise and protect the

employees of its contractors and sub-contractors, including the employees of MONTROSE

and CTEH who were under BRUCKHEIMER’S direct supervision and control, including

Plaintiff, against unwanted belligerent and harassing behavior on the jobsite, including the making

of harassing and inappropriate comments of a sexual nature, such as perpetrated upon Plaintiff by

SEALS.

       224.    At all times relevant, BRUCKHEIMER had a duty to supervise and protect the



                                                37
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 38 of 81




employees of its contractors and sub-contractors, including the employees of MONTROSE

and CTEH who were under BRUCKHEIMER’S direct supervision and control, including

Plaintiff, against sexual grooming, sexual intimidation, employment intimidation, and unwanted

sexual battery, such as perpetrated upon Plaintiff by BECKNER.

       225.    At all times relevant, BRUCKHEIMER had the authority to take action to

prevent, protect, and/or intervene when it learned that employees of MONTROSE and

CTEH under its direct supervision and control were at risk of harm and/or being victimized

by belligerent and harassing behavior, sexual grooming, sexual intimidation, employment

intimidation, and sexual battery.

       226.    At all times relevant, BRUCKHEIMER knew, or in the exercise of ordinary care

should have known, that SEALS was engaging in belligerent and sexually harassing

behavior toward Plaintiff.

       227.    At all times relevant, BRUCKHEIMER knew, or in the exercise of ordinary care

should have known, that BECKNER was engaging in activities of sexual grooming, sexual

intimidation, employment intimidation, and sexual battery toward Plaintiff.

       228.    In violation of its duties as aforesaid, BRUCKHEIMER committed one or

more of the following acts or omissions:

               (a)    Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

               (b)    Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,
                      and sexual battery toward Plaintiff;

               (c)    Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

               (d)    Failed to protect Plaintiff from the reasonably foreseeable threat posed

                                               38
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 39 of 81




                      by SEALS and BECKNER;

               (e)    Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

               (f)    Failed to take action against MONTROSE and/or CTEH or any of
                      their employees, which were under BRUCKHEIMER’S direct
                      supervision and control, including SEALS and BECKNER, when it
                      knew or reasonably should have known interventional action was
                      necessary to address and prevent their behavior of engaging in
                      belligerence, sexual harassment, sexual grooming, sexual intimidation,
                      employment intimidation, and sexual battery against Plaintiff;

       229.    As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by BRUCKHEIMER, Plaintiff was caused to sustained severe,

permanent physical, mental, and emotional injuries; Plaintiff continues and will in the

future continue to suffer great pain and mental anguish; Plaintiff was, and will in the future

be, unable to attend to her usual affairs, duties, and occupation; Plaintiff has been, and in the

future will be required to incur expenses for medical and psychological treatment arising from

her injuries; and the Plaintiff was otherwise injured or damaged.

                        COUNT VII - NEGLIGENT SUPERVISION
                         DIRECTED AT BRUCKHEIMER FILMS

       230.    Plaintiff incorporates by reference Paragraphs 1 through 70 of this Complaint

as if fully set forth herein.

       231.    At all relevant times, BRUCKHEIMER FILMS had a duty to exercise

reasonable care in the supervision of its subsidiaries, contractors, sub-contractors, and their

employees working on the production of the Hightown television show in Wilmington,

North Carolina.

       232.    At all times relevant, BRUCKHEIMER FILMS had a duty to supervise and

                                               39
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 40 of 81




protect the employees of its contractors and sub-contractors, including the employees of

MONTROSE and CTEH who were under BRUCKHEIMER FILMS’ direct supervision and

control, including Plaintiff, against unwanted belligerent and harassing behavior on the jobsite,

including the making of harassing and inappropriate comments of a sexual nature, such as

perpetrated upon Plaintiff by SEALS.

       233.    At all times relevant, BRUCKHEIMER FILMS had a duty to supervise and

protect the employees of its contractors and sub-contractors, including the employees of

MONTROSE and CTEH who were under BRUCKHEIMER FILMS’ direct supervision and

control, including Plaintiff, against sexual grooming, sexual intimidation, employment

intimidation, and unwanted sexual battery, such as perpetrated upon Plaintiff by BECKNER.

       234.    At all times relevant, BRUCKHEIMER FILMS had the authority to take action

to prevent, protect, and/or intervene when it learned that employees of MONTROSE and/or

CTEH under its direct supervision and control were at risk of harm and/or being victimized

by belligerent and harassing behavior, sexual grooming, sexual intimidation, employment

intimidation, and sexual battery.

       235.    At all times relevant, BRUCKHEIMER FILMS knew, or in the exercise of

ordinary care should have known, that SEALS was engaging in belligerent and sexually

harassing behavior toward Plaintiff.

       236.    At all times relevant, BRUCKHEIMER FILMS knew, or in the exercise of

ordinary care should have known, that BECKNER was engaging in activities of sexual

grooming, sexual intimidation, employment intimidation, and sexual battery toward Plaintiff.

       237.    In violation of its duties as aforesaid, BRUCKHEIMER FILMS committed one

or more of the following acts or omissions:

                                               40
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 41 of 81




              (a)     Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

              (b)     Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,
                      and sexual battery toward Plaintiff;

              (c)     Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

              (d)     Failed to protect Plaintiff from the reasonably foreseeable threat posed
                      by SEALS and BECKNER;

              (e)     Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

              (f)     Failed to take action against MONTROSE and/or CTEH or any of
                      their employees, which were under BRUCKHEIMER FILMS’ direct
                      supervision and control, including SEALS and BECKNER, when it
                      knew or reasonably should have known interventional action was
                      necessary to address and prevent their behavior of engaging in
                      belligerence, sexual harassment, sexual grooming, sexual intimidation,
                      employment intimidation, and sexual battery against Plaintiff;

       238.   As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by BRUCKHEIMER FILMS, Plaintiff was caused to sustained severe,

permanent physical, mental, and emotional injuries; Plaintiff continues and will in the

future continue to suffer great pain and mental anguish; Plaintiff was, and will in the future

be, unable to attend to her usual affairs, duties, and occupation; Plaintiff has been, and in the

future will be required to incur expenses for medical and psychological treatment arising from

her injuries; and the Plaintiff was otherwise injured or damaged.

                      COUNT VIII - NEGLIGENT SUPERVISION
                     DIRECTED AT BRUCKHEIMER TELEVISION

       239.   Plaintiff incorporates by reference Paragraphs 1 through 174 of this


                                               41
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 42 of 81




Complaint as if fully set forth herein.

       240.   At all relevant times, BRUCKHEIMER TELEVISION had a duty to exercise

reasonable care in the supervision of its subsidiaries, contractors, sub-contractors, and their

employees working on the production of the Hightown television show in Wilmington,

North Carolina.

       241.   At all times relevant, BRUCKHEIMER TELEVISION had a duty to supervise

and protect the employees of its contractors and sub-contractors, including the employees

of MONTROSE and CTEH who were under BRUCKHEIMER TELEVISION’S direct

supervision and control, including Plaintiff, against unwanted belligerent and harassing

behavior on the jobsite, including the making of harassing and inappropriate comments of a sexual

nature, such as perpetrated upon Plaintiff by SEALS.

       242.   At all times relevant, BRUCKHEIMER TELEVISION had a duty to supervise

and protect the employees of its contractors and sub-contractors, including the employees

of MONTROSE and CTEH who were under BRUCKHEIMER TELEVISION’S direct

supervision and control, including Plaintiff, against sexual grooming, sexual intimidation,

employment intimidation, and unwanted sexual battery, such as perpetrated upon Plaintiff by

BECKNER.

       243.   At all times relevant, BRUCKHEIMER TELEVISION had the authority to take

action to prevent, protect, and/or intervene when it learned that employees of MONTROSE

and/or CTEH under its direct supervision and control were at risk of harm and/or being

victimized by belligerent and harassing behavior, sexual grooming, sexual intimidation,

employment intimidation, and sexual battery.

       244.   At all times relevant, BRUCKHEIMER TELEVISION knew, or in the exercise

                                               42
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 43 of 81




of ordinary care should have known, that SEALS was engaging in belligerent and sexually

harassing behavior toward Plaintiff.

       245.   At all times relevant, BRUCKHEIMER TELEVISION knew, or in the exercise

of ordinary care should have known, that BECKNER was engaging in activities of sexual

grooming, sexual intimidation, employment intimidation, and sexual battery toward Plaintiff.

       246.   In violation of its duties as aforesaid, BRUCKHEIMER TELEVISION

committed one or more of the following acts or omissions:

              (a)     Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

              (b)     Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,
                      and sexual battery toward Plaintiff;

              (c)     Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

              (d)     Failed to protect Plaintiff from the reasonably foreseeable threat posed
                      by SEALS and BECKNER;

              (e)     Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

              (f)     Failed to take action against MONTROSE and/or CTEH or any of
                      their employees, which were under BRUCKHEIMER TELEVISION’S
                      direct supervision and control, including SEALS and BECKNER,
                      when it knew or reasonably should have known interventional action
                      was necessary to address and prevent their behavior of engaging in
                      belligerence, sexual harassment, sexual grooming, sexual intimidation,
                      employment intimidation, and sexual battery against Plaintiff;

       247.   As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by BRUCKHEIMER TELEVISION, Plaintiff was caused to sustained

severe, permanent physical, mental, and emotional injuries; Plaintiff continues and will in


                                               43
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 44 of 81




the future continue to suffer great pain and mental anguish; Plaintiff was, and will in the

future be, unable to attend to her usual affairs, duties, and occupation; Plaintiff has been, and in

the future will be required to incur expenses for medical and psychological treatment arising

from her injuries; and the Plaintiff was otherwise injured or damaged.

                         COUNT IX - NEGLIGENT SUPERVISION
                                DIRECTED AT APPLE

       248.    Plaintiff incorporates by reference Paragraphs 1 through 70 of this Complaint

as if fully set forth herein.

       249.    At all relevant times, APPLE had a duty to exercise reasonable care in the

supervision of its subsidiaries, contractors, sub-contractors, and their employees working on

the production of the feature film Emancipation in New Orleans, Louisiana.

       250.    At all times relevant, APPLE had a duty to supervise and protect the

employees of its contractors and sub-contractors, including the employees of MONTROSE

and CTEH who were under APPLE’S direct supervision and control, including Plaintiff,

against unwanted belligerent and harassing behavior on the jobsite, including the making of

harassing and inappropriate comments of a sexual nature, such as perpetrated upon Plaintiff by

SEALS.

       251.    At all times relevant, APPLE had a duty to supervise and protect the employees

of its contractors and sub-contractors, including the employees of MONTROSE and CTEH,

who were under APPLE’S direct supervision and control, including Plaintiff, against sexual

grooming, sexual intimidation, employment intimidation, and unwanted sexual battery, such as

perpetrated upon Plaintiff by BECKNER.

       252.    At all times relevant, APPLE had the authority to take action to prevent,

                                                44
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 45 of 81




protect, and/or intervene when it learned that employees of MONTROSE and/or CTEH

under its direct supervision and control were at risk of harm and/or being victimized by

belligerent and harassing behavior, sexual grooming, sexual intimidation, employment

intimidation, and sexual battery.

       253.    At all times relevant, APPLE knew, or in the exercise of ordinary care should

have known, that BECKNER was engaging in activities of sexual grooming, sexual

intimidation, employment intimidation, and sexual battery toward Plaintiff.

       254.    In violation of its duties as aforesaid, APPLE committed one or more of the

following acts or omissions:

               (a)    Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

               (b)    Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,
                      and sexual battery toward Plaintiff;

               (c)    Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

               (d)    Failed to protect Plaintiff from the reasonably foreseeable threat posed
                      by SEALS and BECKNER;

               (e)    Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

               (f)    Failed to take action against MONTROSE and/or CTEH or any of
                      their employees, which were under APPLE’S direct supervision and
                      control, including SEALS and BECKNER, when it knew or
                      reasonably should have known interventional action was necessary to
                      address and prevent their behavior of engaging in belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery against Plaintiff;

       255.    As a direct and proximate result of one or more of the foregoing negligent


                                               45
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 46 of 81




acts and/or omissions by APPLE, Plaintiff was caused to sustained severe, permanent

physical, mental, and emotional injuries; Plaintiff continues and will in the future continue

to suffer great pain and mental anguish; Plaintiff was, and will in the future be, unable to

attend to her usual affairs, duties, and occupation; Plaintiff has been, and in the future will be

required to incur expenses for medical and psychological treatment arising from her injuries;

and the Plaintiff was otherwise injured or damaged.

                         COUNT X - NEGLIGENT SUPERVISION
                         DIRECTED AT APPLE PRODUCTIONS

       256.    Plaintiff incorporates by reference Paragraphs 1 through173 of this Complaint

as if fully set forth herein.

       257.    At all relevant times, APPLE PRODUCTIONS had a duty to exercise

reasonable care in the supervision of its subsidiaries, contractors, sub-contractors, and their

employees working on the production of the feature film Emancipation in New Orleans,

Louisiana.

       258.    At all times relevant, APPLE PRODUCTIONS had a duty to supervise and

protect the employees of its contractors and sub-contractors, including the employees of

MONTROSE and CTEH who were under APPLE PRODUCTIONS’ direct supervision and

control, including Plaintiff, against unwanted belligerent and harassing behavior on the jobsite,

including the making of harassing and inappropriate comments of a sexual nature, such as

perpetrated upon Plaintiff by SEALS.

       259.    At all times relevant, APPLE PRODUCTIONS had a duty to supervise and

protect the employees of its contractors and sub-contractors, including the employees of

MONTROSE and CTEH who were under APPLE PRODUCTIONS’ direct supervision and

                                               46
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 47 of 81




control, including Plaintiff, against sexual grooming, sexual intimidation, employment

intimidation, and unwanted sexual battery, such as perpetrated upon Plaintiff by BECKNER.

       260.    At all times relevant, APPLE PRODUCTIONS had the authority to take action

to prevent, protect, and/or intervene when it learned that employees of MONTROSE and/or

CTEH under its direct supervision and control were at risk of harm and/or being victimized

by belligerent and harassing behavior, sexual grooming, sexual intimidation, employment

intimidation, and sexual battery.

       261.    At all times relevant, APPLE PRODUCTIONS knew, or in the exercise of

ordinary care should have known, that BECKNER was engaging in activities of sexual

grooming, sexual intimidation, employment intimidation, and sexual battery toward Plaintiff.

       262.    In violation of its duties as aforesaid, APPLE PRODUCTIONS committed one

or more of the following acts or omissions:

               (a)    Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

               (b)    Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,
                      and sexual battery toward Plaintiff;

               (c)    Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

               (d)    Failed to protect Plaintiff from the reasonably foreseeable threat posed
                      by SEALS and BECKNER;

               (e)    Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

               (f)    Failed to take action against MONTROSE and/or CTEH or any of
                      their employees, which were under APPLE PRODUCTIONS’ direct
                      supervision and control, including SEALS and BECKNER, when it


                                               47
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 48 of 81




                      knew or reasonably should have known interventional action was
                      necessary to address and prevent their behavior of engaging in
                      belligerence, sexual harassment, sexual grooming, sexual intimidation,
                      employment intimidation, and sexual battery against Plaintiff;

       263.   As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by APPLE PRODUCTIONS, Plaintiff was caused to sustained severe,

permanent physical, mental, and emotional injuries; Plaintiff continues and will in the

future continue to suffer great pain and mental anguish; Plaintiff was, and will in the future

be, unable to attend to her usual affairs, duties, and occupation; Plaintiff has been, and in the

future will be required to incur expenses for medical and psychological treatment arising from

her injuries; and the Plaintiff was otherwise injured or damaged.

                        COUNT XI - NEGLIGENT SUPERVISION
                           DIRECTED AT APPLE STUDIOS

       264.   Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       265.   At all relevant times, APPLE STUDIOS had a duty to exercise reasonable care

in the supervision of its subsidiaries, contractors, sub-contractors, and their employees

working on the production of the feature film Emancipation in New Orleans, Louisiana.

       266.   At all times relevant, APPLE STUDIOS had a duty to supervise and protect

the employees of its contractors and sub-contractors, including the employees of

MONTROSE and CTEH who were under APPLE STUDIOS’ direct supervision and

control, including Plaintiff, against unwanted belligerent and harassing behavior on the jobsite,

including the making of harassing and inappropriate comments of a sexual nature, such as

perpetrated upon Plaintiff by SEALS.



                                               48
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 49 of 81




       267.    At all times relevant, APPLE STUDIOS had a duty to supervise and protect the

employees of its contractors and sub-contractors, including the employees of MONTROSE

and CTEH, who were under APPLE STUDIOS’ direct supervision and control, including

Plaintiff, against sexual grooming, sexual intimidation, employment intimidation, and unwanted

sexual battery, such as perpetrated upon Plaintiff by BECKNER.

       268.    At all times relevant, APPLE STUDIOS had the authority to take action to

prevent, protect, and/or intervene when it learned that employees of MONTROSE and/or

CTEH under its direct supervision and control were at risk of harm and/or being victimized

by belligerent and harassing behavior, sexual grooming, sexual intimidation, employment

intimidation, and sexual battery.

       269.    At all times relevant, APPLE STUDIOS knew, or in the exercise of ordinary

care should have known, that SEALS was engaging in belligerent and sexually harassing

behavior toward Plaintiff.

       270.    At all times relevant, APPLE STUDIOS knew, or in the exercise of ordinary

care should have known, that BECKNER was engaging in activities of sexual grooming, sexual

intimidation, employment intimidation, and sexual battery toward Plaintiff.

       271.    In violation of its duties as aforesaid, APPLE STUDIOS committed one or

more of the following acts or omissions:

               (a)    Failed to supervise SEALS and prevent him engaging in belligerent
                      and sexually harassing behavior toward Plaintiff;

               (b)    Failed to supervise BECKNER and prevent him from engaging in
                      activities of sexual grooming, sexual intimidation, employment intimidation,
                      and sexual battery toward Plaintiff;

               (c)    Disregarded the continuous and ongoing risk of harm that SEALS and
                      BECKNER posed to Plaintiff's well-being and safety;

                                               49
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 50 of 81




               (d)    Failed to protect Plaintiff from the reasonably foreseeable threat posed
                      by SEALS and BECKNER;

               (e)    Fostered a workplace environment where belligerence, sexual
                      harassment, sexual grooming, sexual intimidation, employment
                      intimidation, and sexual battery were allowed against female workers;
                      and

               (f)    Failed to take action against MONTROSE and/or CTEH or any of
                      their employees, which were under APPLE STUDIOS’ direct
                      supervision and control, including SEALS and BECKNER, when it
                      knew or reasonably should have known interventional action was
                      necessary to address and prevent their behavior of engaging in
                      belligerence, sexual harassment, sexual grooming, sexual intimidation,
                      employment intimidation, and sexual battery against Plaintiff;

       272.    As a direct and proximate result of one or more of the foregoing negligent

acts and/or omissions by APPLE STUDIOS, Plaintiff was caused to sustained severe,

permanent physical, mental, and emotional injuries; Plaintiff continues and will in the

future continue to suffer great pain and mental anguish; Plaintiff was, and will in the future

be, unable to attend to her usual affairs, duties, and occupation; Plaintiff has been, and in the

future will be required to incur expenses for medical and psychological treatment arising from

her injuries; and the Plaintiff was otherwise injured or damaged.

                     COUNT XII - SEXUAL ASSAULT AND BATTERY
                              DIRECTED AT BECKNER

       273.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       274.    BECKNER is liable to Plaintiff under La. C.C. art. 2315, et seq., for reasons of his

non-consensual sexual battery and his unwanted invasions of Plaintiff’s person as described above,

which constitute a course of conduct and continuous pattern of misconduct, and specifically




                                                50
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 51 of 81




including the three episodes where BECKNER forcefully engaged in unwanted sexual intercourse

with Plaintiff on March 6, 2021, March 8, 2021, and March 17, 2021.

       275.    At all times when BECKNER committed his acts of non-consensual sexual battery

and unwanted invasions of Plaintiff’s person, BRUCKHER was employed by MONTROSE and its

wholly owned subsidiary, CTEH, and BECKNER was acting with MONTROSE AND CTEH’S

actual and/or apparent authority as Plaintiff’s supervisor with the authority to promote, demote,

assign, control, set Plaintiff’s rate of pay, and terminate Plaintiff’s employment.

       276.    MONTROSE, and its wholly owned subsidiary, CTEH, are both vicariously liable for

BECKNER’S tortious acts pursuant to La. C.C. art 2320.

       277.    BECKNER, MONTROSE and CTEH are liable, jointly, severally, and in solido, for

damages to Plaintiff, including compensatory and exemplary damages, and for other appropriate

relief, by reason of the aforesaid acts of sexual assault and battery.

       278.    As a direct and proximate result of BECKNER’S tortious conduct, Plaintiff has

suffered, and in the future will continue to suffer permanent personal injuries, including severe

emotional distress, physical injuries, and economic losses including expenses for medical and

psychological treatment, and a reduction in her earnings, and these injuries continue.

       COUNT XIII – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                          DIRECTED AT BECKNER

       279.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       280.    BECKNER’S repeated, non-consensual sexual battery and his unwanted invasions of

Plaintiff’s person, which constitute a course of conduct and continuous pattern of misconduct, as

described above, specifically including the sending of sexually explicit and inappropriate messages,


                                                  51
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 52 of 81




the three episodes where BECKNER forcefully engaged in unwanted sexual intercourse with

Plaintiff on March 6, 2021, March 8, 2021, and March 17, 2021, touching Plaintiff on her buttocks,

attempting to kiss her, fondle he breasts, and attempting to put money in plaintiff’s bra on April 24,

2021, and again attempting to put money in Plaintiff’s bra on May 3, 2021, amount to extreme and

outrageous conduct on his part against Plaintiff.

        281.     BECKNER’S repeated acts of non-consensual sexual battery and his unwanted

invasions of Plaintiff’s person were atrocious, utterly intolerable in civilized community, and beyond

all possible bounds of decency.

        282.     At the times BECKNER committed those acts, he desired to inflict severe emotional

distress upon Plaintiff, or he knew such severe emotional distress was certain or substantially certain

to result in Plaintiff.

        283.     At all times when BECKNER committed his acts of non-consensual sexual battery

and unwanted invasions of Plaintiff’s person, BECKNER was employed by MONTROSE and its

wholly owned subsidiary, CTEH, and BECKNER was acting with MONTROSE and CTEH’S actual

and/or apparent authority as Plaintiff’s supervisor with the authority to promote, demote, assign,

control, set Plaintiff’s rate of pay, and terminate Plaintiff’s employment.

        284.     MONTROSE, and its wholly owned subsidiary, CTEH, are both vicariously liable for

BECKNER’S tortious acts pursuant to La. C.C. art 2320.

        285.     BECKNER, MONTROSE and CTEH are liable, jointly, severally, and in sloid, for

damages to Plaintiff, arising from BECKNER’S intentional infliction of emotional distress upon

Plaintiff.

        286.     As a direct and proximate result of BECKNER’S tortious conduct, Plaintiff has

suffered, and in the future will continue to suffer severe, extreme, debilitating, and permanent

                                                  52
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 53 of 81




emotional distress, including physical manifestations, nightmares, flashbacks, loss of concentration,

inability to work at the same level, and she has and will in the future incur great economic losses,

including expenses for medical and psychological treatment, and a reduction in her earnings, and

these injuries continue.

                            COUNT XIV - SEXUAL HARASSMENT
                                  DIRECTED AT CTEH

        287.     Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

        288.     Plaintiff is a female and is therefore a member of a protected group under Title VII of

the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.

        289.     Plaintiff was subjected to belligerent behavior, sexual harassment, sexual grooming,

sexual intimidation, employment intimidation, and unwanted sexual battery based on her

membership in said protected class by CTEH, through its employees and agents, SEALS, and

BECKNER as outlined in the Facts Common to All Counts section of this Complaint.

        290.     CTEH knew or reasonably should have known of the harassment in question and

failed to stop it.

        291.     The harassment was sufficiently severe and/or pervasive to alter the conditions of

Plaintiff’s employment with CTEH.

        292.     CTEH’S decision to terminate Plaintiff’s employment, rather than taking disciplinary

and/or remedial action against SEALS and BECKNER to address their harassment of Plaintiff,

constitutes a tangible employment action pursuant to Section 2000e-2(a)(1) of said Act.

        293.     Because the harassment culminated in a tangible employment action, CTEH is

vicariously liable for SEALS and BECKNER’S harassment of Plaintiff.


                                                   53
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 54 of 81




        294.    The acts described above constitute discrimination based on sex in violation of Title

VII of the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. § 2000e,

et seq. (Title VII), thus rendering CTEH liable unto Plaintiff for compensatory damages, punitive

damages, reasonable attorney’s fees, and the costs of this lawsuit.

                            COUNT XV - SEXUAL HARASSMENT
                               DIRECTED AT MONTROSE

        295.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

        296.    Plaintiff is a female and is therefore a member of a protected group under Title VII of

the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.

        297.    Plaintiff was subjected to belligerent behavior, sexual harassment, sexual grooming,

sexual intimidation, employment intimidation, and unwanted sexual battery based on her

membership in said protected class by MONTROSE, through its wholly owned subsidiary, CTEH,

through its employees and agents, SEALS and BECKNER as outlined in the Facts Common to All

Counts section of this Complaint.

        298.    MONTROSE knew or reasonably should have known of the harassment in question

and failed to stop it.

        299.    The harassment was sufficiently severe and/or pervasive to alter the conditions of

Plaintiff’s employment with MONTROSE.

        300.    MONTROSE’S decision to terminate Plaintiff’s employment, rather than taking

disciplinary and/or remedial action against SEALS and BECKNER to address their harassment of

Plaintiff, constitutes a tangible employment action pursuant to Section 2000e-2(a)(1) of said Act.

        301.    Because the harassment culminated in a tangible employment action, MONTROSE is


                                                  54
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 55 of 81




vicariously liable for SEALS and BECKNER’S harassment of Plaintiff.

       302.    The acts described above constitute discrimination based on sex in violation of Title

VII of the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. § 2000e,

et seq. (Title VII), thus rendering MONTROSE liable unto Plaintiff for compensatory and punitive

damages.

       WHEREFORE, Plaintiff, ALICIA KELLY, prays for judgment against MONTROSE

in an amount in excess of $75,000.00 for compensatory damages, punitive damages, reasonable

attorney’s fees, and the costs of this lawsuit.

                            COUNT XVI - SEXUAL HARASSMENT
                                  DIRECTED AT SEALS

       301.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       302.    Plaintiff is a female and is therefore a member of a protected group under Title VII of

the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.

       303.    Plaintiff was subjected to belligerent and sexually harassing behavior by SEALS, as

outlined in the Facts Common to All Counts section of this Complaint.

       304.    SEALS knew or reasonably should have known his behavior toward Plaintiff through

the making of sexually explicit comments about Plaintiff and Plaintiff’s co-workers in Plaintiff’s

presence constituted harassment, and he failed to stop it when asked to do so by Plaintiff.

       305.    SEALS’ harassment of Plaintiff was sufficiently severe and/or pervasive to alter the

conditions of Plaintiff’s employment with MONTROSE and its subsidiary CTEH.

       306.    Following his transfer from North Carolina to Arkansas, SEALS continued to have

supervisory authority over Plaintiff, and he continued to condone and approve the actions of other


                                                  55
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 56 of 81




employees of MONTROSE, through its subsidiary, CTEH, including BECKNER, in the sexual

harassment of Plaintiff.

       307.    Because the harassment culminated in a tangible employment action, MONTROSE

and its wholly owned subsidiary, CTEH, are vicariously liable for SEALS’ harassment of Plaintiff.

       308.    The acts described above constitute discrimination based on sex in violation of Title

VII of the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. § 2000e,

et seq. (Title VII), thus rendering SEALS liable unto Plaintiff for compensatory damages, punitive

damages, reasonable attorney’s fees, and the costs of this lawsuit.

                           COUNT XVII - SEXUAL HARASSMENT
                               DIRECTED AT BECKNER

       308.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       309.    Plaintiff is a female and is therefore a member of a protected group under Title VII of

the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.

       310.    Plaintiff was subjected to belligerent and sexually harassing behavior by BECKNER,

as outlined in the Facts Common to All Counts section of this Complaint, which constitute a course

of conduct and continuous pattern of misconduct, as described above, specifically including the

sending of sexually explicit and inappropriate messages, the three episodes where BECKNER

forcefully engaged in unwanted sexual intercourse with Plaintiff on March 6, 2021, March 8, 2021,

and March 17, 2021, touching Plaintiff on her buttocks, attempting to kiss her, and attempting to put

money in plaintiff’s bra on April 24, 2021, and again attempting to put money in Plaintiff’s bra on

May 3, 2021.

       311.    BECKNER knew or reasonably should have known his behavior toward Plaintiff


                                                 56
      Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 57 of 81




through the making of sexually explicit comments about Plaintiff and Plaintiff’s co-workers in

Plaintiff’s presence, sexual grooming, sexual intimidation, employment intimidation, and unwanted

sexual battery constituted harassment, and he failed to stop it when asked to do so by Plaintiff.

        312.   SEALS’ harassment of Plaintiff was sufficiently severe and/or pervasive to alter the

conditions of Plaintiff’s employment with MONTROSE and its subsidiary CTEH.

        313.   Because the harassment culminated in a tangible employment action, MONTROSE

and its wholly owned subsidiary, CTEH, are vicariously liable for BECKNER’S harassment of

Plaintiff.

        314.   The acts described above constitute discrimination based on sex in violation of Title

VII of the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. § 2000e,

et seq. (Title VII), thus rendering SEALS liable unto Plaintiff for compensatory damages, punitive

damages, reasonable attorney’s fees, and the costs of this lawsuit.

        COUNT XVIII – WAGE DISCRIMINATION BASED ON SEX (TITLE VII)
                            DIRECTED AT CTEH

        315.   Plaintiff incorporates by reference Paragraphs 1 through 174 of                   this

Complaint as if fully set forth herein.

        316.   Plaintiff is a female and is therefore a member of a protected group under Title VII of

the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.

        317.   As outlined in the Facts Common to All Counts section of this Complaint, while

employed by CTEH, Plaintiff was paid less than her male counterparts performing the same job

duties and holding the same job title. Specifically, Plaintiff was paid $25.00 per hour as a Testing

Coordinator working on a television production when her male counterparts were being paid up to

$35.00 to perform the same work, and Plaintiff was initially offered $40.00 per hour and not paid


                                                 57
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 58 of 81




more than $60.00 per hour as a Health and Safety Manager working on a feature film production

when her male counterparts performing the same job title, duties, and responsibilities were being

paid a minimum of $75.00 per hour.

       318.    CTEH knew of this wage discrepancy based on sex because Plaintiff demanded equal

pay from CTEH.

       319.    Despite Plaintiff’s demand for equal pay, CTEH failed to pay her the same wage as

her male counterparts performing the same job duties and holding the same job title.

       320.    CTEH’S wage discrimination based on sex was sufficiently severe and/or pervasive

to alter the conditions of Plaintiff’s employment with CTEH.

       321.    CTEH’S decision not to remedy a discriminatory sex-based discrepancy in pay

constitutes a tangible employment action pursuant to Section 2000e-2(a)(1) of said Act.

       322.    The acts described above constitute discrimination based on sex in violation of Title

VII of the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. § 2000e,

et seq. (Title VII), thus rendering CTEH liable unto Plaintiff for compensatory damages, punitive

damages, reasonable attorney’s fees, and the costs of this lawsuit.

        COUNT XIX – WAGE DISCRIMINATION BASED ON SEX (TITLE VII)
                        DIRECTED AT MONTROSE

       323.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       324.    Plaintiff is a female and is therefore a member of a protected group under Title VII of

the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.

       325.    As outlined in the Facts Common to All Counts section of this Complaint, while

employed by MONTROSE, Plaintiff was paid less than her male counterparts performing the same


                                                 58
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 59 of 81




job duties and holding the same job title. Specifically, Plaintiff was paid $25.00 per hour as a Testing

Coordinator working on a television production when her male counterparts were being paid up to

$35.00 to perform the same work, and Plaintiff was initially offered $40.00 per hour and not paid

more than $60.00 per hour as a Health and Safety Manager working on a feature film production

when her male counterparts performing the same job title, duties, and responsibilities were being

paid a minimum of $75.00 per hour.

       326.    MONTROSE knew of this wage discrepancy based on sex because Plaintiff

demanded equal pay from MONTROSE through its wholly owned subsidiary, CTEH.

       327.    Despite Plaintiff’s demand for equal pay, MONTROSE failed to pay her the same

wage as her male counterparts performing the same job duties and holding the same job title.

       328.    MONTROSE’S wage discrimination based on sex was sufficiently severe and/or

pervasive to alter the conditions of Plaintiff’s employment with MONTROSE.

       329.    MONTROSE’S decision not to remedy a discriminatory sex-based discrepancy in pay

constitutes a tangible employment action pursuant to Section 2000e-2(a)(1) of said Act.

       330.    The acts described above constitute discrimination based on sex in violation of Title

VII of the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. § 2000e,

et seq. (Title VII), thus rendering MONTROSE liable unto Plaintiff for compensatory damages,

punitive damages, reasonable attorney’s fees, and the costs of this lawsuit.

     COUNT XX – WAGE DISCRIMINATION BASED ON SEX (EQUAL PAY ACT)
                          DIRECTED AT CTEH

       331.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       332.    Plaintiff is a female and is therefore a member of a protected group under Title VII of


                                                  59
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 60 of 81




the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.

       333.    As outlined in the Facts Common to All Counts section of this Complaint, while

employed by MONTROSE, Plaintiff was paid less than her male counterparts performing the same

job duties and holding the same job title. Specifically, Plaintiff was paid $25.00 per hour as a Testing

Coordinator working on a television production when her male counterparts were being paid up to

$35.00 to perform the same work, and Plaintiff was initially offered $40.00 per hour and not paid

more than $60.00 per hour as a Health and Safety Manager working on a feature film production

when her male counterparts performing the same job title, duties, and responsibilities were being

paid a minimum of $75.00 per hour.

       334.    CTEH knew of this wage discrepancy based on sex because Plaintiff demanded equal

pay from CTEH.

       335.    CTEH’S discriminatory sex-based discrepancy in pay constitutes a tangible

employment action pursuant to the Equal Pay Act of 1963, 29 U.S.C. 206(d).

       336.    The acts described above constitute discrimination based on sex in violation of the

Fair Labor Standards Act of 1938, 26 U.S.C., 201, et. seq., as amended by the Equal Pay Act of

1963, 29 U.S.C. 206(d), thus rendering CTEH liable unto Plaintiff for compensatory and punitive

damages.

    COUNT XXI – WAGE DISCRIMINATION BASED ON SEX (EQUAL PAY ACT)
                       DIRECTED AT MONTROSE

       337.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       338.    Plaintiff is a female and is therefore a member of a protected group under Title VII of

the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.


                                                  60
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 61 of 81




       339.    As outlined in the Facts Common to All Counts section of this Complaint, while

employed by MONTROSE, Plaintiff was paid less than her male counterparts performing the same

job duties and holding the same job title. Specifically, Plaintiff was paid $25.00 per hour as a Testing

Coordinator working on a television production when her male counterparts were being paid up to

$35.00 to perform the same work, and Plaintiff was initially offered $40.00 per hour and not paid

more than $60.00 per hour as a Health and Safety Manager working on a feature film production

when her male counterparts performing the same job title, duties, and responsibilities were being

paid a minimum of $75.00 per hour.

       340.    MONTROSE knew of this wage discrepancy based on sex because Plaintiff

demanded equal pay from MONTROSE, through its wholly owned subsidiary CTEH.

       341.    MONTROSE’S discriminatory sex-based discrepancy in pay constitutes a tangible

employment action pursuant to the Equal Pay Act of 1963, 29 U.S.C. 206(d).

       342.    The acts described above constitute discrimination based on sex in violation of the

Fair Labor Standards Act of 1938, 26 U.S.C., 201, et. seq., as amended by the Equal Pay Act of

1963, 29 U.S.C. 206(d), thus rendering MONTROSE liable unto Plaintiff for compensatory and

punitive damages.

    COUNT XXII – WRONGFUL DISCHARGE (FAIR LABOR STANDARDS ACT)
                        DIRECTED AT CTEH

       343.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       344.    Plaintiff is a female and is therefore a member of a protected group under Title VII of

the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.

       345.    As outlined in the Facts Common to All Counts section of this Complaint, while


                                                  61
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 62 of 81




employed by MONTROSE, Plaintiff was paid less than her male counterparts performing the same

job duties and holding the same job title. Specifically, Plaintiff was paid $25.00 per hour as a Testing

Coordinator working on a television production when her male counterparts were being paid up to

$35.00 to perform the same work, and Plaintiff was initially offered $40.00 per hour and not paid

more than $60.00 per hour as a Health and Safety Manager working on a feature film production

when her male counterparts performing the same job title, duties, and responsibilities were being

paid a minimum of $75.00 per hour.

       346.    On or about June 18, 2021, Plaintiff formally reported various acts of sexual

discrimination and misconduct by her immediate supervisor and other employees of CTEH to that

company, through SELBY, which included her discriminant pay, and Plaintiff sought a meeting with

SELBY to discuss her allegations in detail.

       347.    As a direct result of filing a formal complaint against CTEH, Plaintiff was terminated

from its employment on or about June 21, 2021.

       348.    CTEH’S termination of Plaintiff’s employment immediately following her filing of a

formal complaint based on discriminatory practices, including wage discrimination based on sex, is a

prohibited act by CTEH pursuant to the Fair Labor Standards Act of 1938, 29 U.S.C. 215(a)(3).

       349.    CTEH’S discriminatory sex-based discrepancy in pay constitutes a tangible

employment action pursuant to that Act.

       350.    The acts described above constitute an unlawful termination of employment in

violation of the Fair Labor Standards Act of 1938, 26 U.S.C., 201, et. seq., thus rendering CTEH

liable unto Plaintiff for compensatory and punitive damages.




                                                  62
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 63 of 81




    COUNT XXIII – WRONGFUL DISCHARGE (FAIR LABOR STANDARDS ACT)
                       DIRECTED AT MONTROSE

       351.       Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       352.       Plaintiff is a female and is therefore a member of a protected group under Title VII of

the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42 U.S.C. 2000e, et. seq.

       353.       While employed by MONTROSE, through its wholly owned subsidiary, CTEH,

Plaintiff was paid less than her male counterparts performing the same job duties and holding the

same job title.

       354.       On or about June 18, 2021, Plaintiff formally reported various acts of sexual

discrimination and misconduct by her immediate supervisor and other employees of CTEH to

MONTROSE through its agents and employees at CTEH, including SELBY, which included her

discriminant pay, and Plaintiff sought a meeting with SELBY to discuss her allegations in detail.

       355.       As a direct result of filing a formal complaint against CTEH, Plaintiff was terminated

from employment by MONTROSE on or about June 21, 2021.

       356.       MONTROSE’S termination of Plaintiff’s employment immediately following her

filing of a formal complaint based on discriminatory practices, including wage discrimination based

on sex, is a prohibited act by MONTROSE pursuant to the Fair Labor Standards Act of 1938, 29

U.S.C. 215(a)(3).

       357.       MONTROSE’S discriminatory sex-based discrepancy in pay constitutes a tangible

employment action pursuant to that Act.

       358.       The acts described above constitute an unlawful termination of employment in

violation of the Fair Labor Standards Act of 1938, 26 U.S.C., 201, et. seq., thus rendering


                                                    63
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 64 of 81




MONTROSE liable unto Plaintiff for compensatory and punitive damages.

     COUNT XXIV - VIOLATION OF FEDERAL SEX TRAFFICKING STATUTES
                      DIRECTED AGAINST BECKNER

       359.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       360.    Plaintiff is authorized to bring this civil claim against BECKNER pursuant to 18

U.S.C. § 1595(a), which provides a civil remedy for victims of human trafficking as defined in the

Trafficking Victims Protection Act (TVPA) set forth in 18 U.S.C. 1591.

       361.    In violation of 18 U.S.C. §§ 1591 and 1595(a), BECKNER recruited, enticed,

harbored, transported, obtained, maintained, and/or patronized Plaintiff knowing that he would use

force, threats of force, fraud, and/or coercion to cause Plaintiff to engage in a commercial sexual act.

       362.    In violation of 18 U.S.C. §§ 1591 and 1595(a), BECKNER knowingly caused

Plaintiff to engage in commercial sexual acts with him by means of use force, threats of force, fraud,

and/or coercion as defined in 18 U.S.C. § 1591 by engaging in the following acts:

               a)      Use of threats of serious harm as defined by 18 U.S.C. § 1591(e)(5), which
                       constitutes “coercion” pursuant to 18 U.S.C. § 1591(e)(2);

               b)      Use of a scheme, plan, or pattern intended to cause Plaintiff to believe that, if
                       she did not perform such sexual labor or services, she would suffer serious
                       harm or physical restraint which constitutes “coercion” pursuant to 18 U.S.C.
                       § 1591(e)(2); and

               c)      Use of fraud, by knowingly making a misrepresentation of material fact with
                       the intent to deceive Plaintiff, thereby causing Plaintiff to justifiably rely on
                       his misrepresentation resulting in harm to Plaintiff.

       363.    The sexual activity in which Plaintiff was forced to engage with BECKNER meets

the definition of commercial sexual activity as defined by of 18 U.S.C. § 1591(e)(3) because

something of value, namely Plaintiff’s employment at MONTROSE and its wholly owned


                                                  64
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 65 of 81




subsidiary CTEH, was promised, given in exchange for, and conditioned on the performance of

sexual acts.

       364.    BECKNER knowingly benefitted from his own recruitment, enticement, harboring,

transporting, and/or obtaining of Plaintiff by receiving sexual services and labor from Plaintiff in

exchange for providing her with a job at MONTROSE, through its wholly owned subsidiary, CTEH.

       365.    BECKNER’S tortious acts toward Plaintiff were “in or affecting” interstate and/or

foreign commerce, including by (1) using his position at a MONTROSE, which is a multi-state and

multinational publicly traded corporation to coerce Plaintiff into engaging in commercial sexual acts,

(2) using the promise of a position at a multinational publicly traded corporation to recruit and entice

Plaintiff to provide him with sexual labor and services, (3) by forcing Plaintiff to engage in sexual

acts with him in order to maintain her employment at that multinational publicly traded corporation,

and (4) using the channels and instrumentalities of interstate commerce to facilitate the trafficking

through the use of phone calls and text messages.

       366.    As a direct and proximate result of BECKNER’S actions, which constitute a course of

conduct and continuous pattern of misconduct, as described above, specifically including the sending

of sexually explicit and inappropriate messages, the three episodes where BECKNER forcefully

engaged in unwanted sexual intercourse with Plaintiff on March 6, 2021, March 8, 2021, and March

17, 2021, touching Plaintiff on her buttocks, attempting to kiss her, fondling her breasts, and

attempting to put money in plaintiff’s bra on April 24, 2021, and again attempting to put money in

Plaintiff’s bra on May 3, 2021, Plaintiff has suffered personal injuries of a permanent nature,

including severe emotional distress, physical injuries, and economic losses, and these injuries

continue.



                                                  65
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 66 of 81




        367.   MONTROSE and its wholly owned subsidiary CTEH are vicariously liable for

BECKNER’S tortious acts described herein pursuant to La. C.C. art 2320.

        368.   BECKNER, MONTROSE and CTEH are liable, jointly, severally, and in solido, for

damages to Plaintiff, and for other appropriate relief, by reason of the aforesaid acts of BECKNER.

     COUNT XXV - VIOLATION OF LOUISIANA SEX TRAFFICKING STATUTE
                     DIRECTED AGAINST BECKNER

        369.   Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

        370.   Plaintiff is authorized to bring this civil claim against BECKNER, MONTROSE, and

CTEH pursuant to LSA-R.S. § 46:2163, which provides a state law cause of action for victims of

human trafficking as defined by LSA-R.S. § 14:46.2.

        371.   BECKNER did knowingly recruit, harbor, transport, provide, solicit, receive, isolate,

entice, obtain, and/or maintain the use of Plaintiff through fraud, force, and/or coercion with the

intention of forcing her into sexual labor and services for him in violation of LSA-R.S. § 14:46.2.

        372.   The sexual activity in which Plaintiff was forced to engage with BECKNER meets

the definition of commercial sexual activity as defined by of LSA-R.S. § 14:46.2(C)(1) because

something of value, namely Plaintiff’s employment at MONTROSE and its wholly owned

subsidiary CTEH, was promised and in fact given in exchange for and conditioned on the

performance of sexual acts.

        373.   In order to obtain sexual services from Plaintiff, BECKNER knowingly engaged in

acts which constitute fraud, force, or coercion as defined in LSA-R.S. § 14:46.2, in the following

ways:

               a)     Using a plan, pattern, or statement with intent to cause Plaintiff to believe
                      that failure to perform an act will result in the use of force against, abduction

                                                66
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 67 of 81




                       of, serious harm to, and/or physical restraint of Plaintiff;

               b)      Physically restraining or threatening to physically restrain Plaintiff;

               c)      Using debt bondage by forcing Plaintiff to engage in commercial sexual
                       activity in payment toward or satisfaction of purported debt;

               d)      Using civil and/or criminal fraud by making a misrepresentation of material
                       fact with the intent to deceive Plaintiff, thereby causing Plaintiff’s justifiable
                       reliance resulting in injury to Plaintiff; and

               e)      Using extortion as defined in LSA-R.S. § 14:66 by communicating a threat to
                       do harm to Plaintiff with the intention of obtaining something of value from
                       the Plaintiff, namely, commercial sexual acts.

       374.    BECKNER knowingly benefitted from his recruitment, enticement, harboring,

transporting, providing, soliciting, receiving, isolating, maintaining, and/or obtaining of Plaintiff by

receiving commercial sexual services from Plaintiff.

       375.    As a direct and proximate result of BECKNER’S actions, which constitute a course of

conduct and continuous pattern of misconduct, as described above, specifically including the sending

of sexually explicit and inappropriate messages, the three episodes where BECKNER forcefully

engaged in unwanted sexual intercourse with Plaintiff on March 6, 2021, March 8, 2021, and March

17, 2021, touching Plaintiff on her buttocks, attempting to kiss her, fondling her breasts, and

attempting to put money in plaintiff’s bra on April 24, 2021, and again attempting to put money in

Plaintiff’s bra on May 3, 2021, Plaintiff has suffered personal injuries of a permanent nature,

including severe emotional distress, physical injuries, and economic losses, and these injuries

continue.

       376.    MONTROSE and its wholly owned subsidiary CTEH are vicariously liable for

BECKNERS’ tortious acts pursuant to La. C.C. art 2320.

       377.    BECKNER, MONTROSE and CTEH are liable, jointly, severally, and in solido, for



                                                  67
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 68 of 81




damages to Plaintiff, and for other appropriate relief, by reason of the aforesaid acts of BECKNER.

     COUNT XXVI - VIOLATION OF FEDERAL SEX TRAFFICKING STATUTES
                     DIRECTED AGAINST MONTROSE

       378.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       379.    Plaintiff is authorized to bring this civil claim against MONTROSE pursuant to 18

U.S.C. § 1595(a), which provides a civil remedy for victims of human trafficking as defined in the

TVPA set forth in 18 U.S.C. § 1591.

       380.    MONTROSE was the direct employer of BECKNER, upon whom they bestowed

financial payments, assistance, and authority, including the authority to hire and fire other employees

of MONTROSE and its wholly owned subsidiary, CTEH. Therefore, MONTROSE was associated

with BECKNER in a “venture” as defined by 18 U.S.C. § 1591(e)(6) and 18 U.S.C. § 1591(e)(4).

       381.    In violation of 18 U.S.C. §§ 1591 and 1595(a), BECKNER, acting in his official

capacity as an agent and employee of MONTROSE, when BECKNER recruited, enticed, harbored,

transported, obtained, maintained, and/or patronized Plaintiff knowing that he would use force,

threats of force, fraud, and/or coercion to cause Plaintiff to engage in commercial sexual acts.

       382.    In violation of 18 U.S.C. §§ 1591 and 1595(a), BECKNER, acting in his official

capacity as an agent and employee of MONTROSE, did in fact knowingly cause Plaintiff to engage

in commercial sexual acts with him by means of use of force, threats of force, fraud, and/or coercion

as defined in 18 U.S.C. § 1591, by engaging in the following acts:

               a)      Use of threats of serious harm as defined by 18 U.S.C. § 1591(e)(5), which
                       constitutes “coercion” pursuant to 18 U.S.C. § 1591(e)(2);

               b)      Use of a scheme, plan, or pattern intended to cause Plaintiff to believe that, if
                       that she did not perform such sexual labor or services, she would suffer
                       serious harm or physical restraint which constitutes “coercion” pursuant to 18

                                                  68
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 69 of 81




                       U.S.C. § 1591(e)(2);

               c)      Use of fraud, by knowingly making a misrepresentation of material fact with
                       the intent to deceive Plaintiff, thereby causing Plaintiff to justifiably rely on
                       his misrepresentation resulting in harm to Plaintiff.

       383.    BECKNER’S acts toward Plaintiff were in or affecting interstate and/or foreign

commerce, including by (1) using his position at MONTROSE, which is a multinational publicly

traded corporation, to coerce plaintiff into engaging in commercial sexual acts, (2) using the promise

of a position MONTROSE to recruit and entice Plaintiff to provide BECKNER with sexual labor

and services, (3) by forcing Plaintiff to engage in sexual acts with BECKNER in order to maintain

her employment at MONTROSE, and (4) using the channels and instrumentalities of interstate

commerce to facilitating the trafficking through the use of phone calls, text messages, and email.

       384.    The sexual activity in which Plaintiff was forced to engage with BECKNER meets

the definition of commercial sexual activity as defined by of 18 U.S.C. § 1591(e)(3) because

something of value, namely a job at MONTROSE and its subsidiary, CTEH was promised and in

fact given in exchange for the performance of sexual acts.

       385.    MONTROSE participated in a venture with BECKNER that violated 18 U.S.C. §

1591(a), by knowingly assisting, supporting, and/or facilitating BECKNER as defined in 18 U.S.C. §

1591(e)(4).

       386.    MONTROSE had actual knowledge and had been directly informed that BECKNER

had used his position of authority and control over Plaintiff as her direct supervisor at MONTROSE,

through its subsidiary, CTEH, to engage in sexual activity with BECKNER in exchange for keeping

HER job at MONTROSE and its subsidiary, CTEH. Thus, MONTROSE acted knowingly when it

participated in a venture with BECKNER, to use force, threats of force, fraud, and/or coercion to

cause Plaintiff to engage in commercial sexual acts.

                                                  69
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 70 of 81




       387.    Alternatively, MONTROSE, through its subsidiary, CTEH should have known but

recklessly disregarded the fact that BECKNER, with whom MONTROSE was participating in a

venture, was using his position at MONTROSE, through its wholly owned subsidiary, CTEH, to use

force, threats of force, fraud, and/or coercion to cause Plaintiff to engage in a commercial sexual act,

including by recklessly disregarding the following indicators:

               a)      Open and obvious grooming behavior by BECKNER toward Plaintiff made
                       in the presence of other MONTROSE and CTEH employees;

               b)      General knowledge amongst MONTROSE and CTEH employees that
                       BECKNER had engaged in sexual activity with other subordinate female
                       employees working at MONTROSE and/or CTEH to engage in commercial
                       sexual acts with himself in exchange for the right to keep their jobs at
                       MONTROSE and/or CTEH;

               c)      BECKNER’S public bragging to MONTROSE and/or CTEH employees that
                       he was having sex with Plaintiff; and

               d)      Other indications that BECKNER was causing Plaintiff to engage in
                       commercial sexual acts with himself in exchange for the right to keep her job
                       at MONTROSE and/or CTEH through the specialized treatment BECKNER
                       gave to Plaintiff, including fine dining, manicures, pedicures, buying
                       alcoholic beverages for Plaintiff, force, fraud, and coercion, which will be
                       shown at a trial of this matter.

       388.    MONTROSE knowingly benefitted from its participation in a venture with

BECKNER, in violation of the TVPA, which benefit is described further below.

       389.    MONTROSE had a duty to take reasonable precautions to protect its employees and

the employees of its subsidiary, CTEH, including Plaintiff, from sexual harassment, sex crimes, and

sex trafficking perpetrated by MONTROSE’S own agents or employees.

       390.    The implementation and enforcement of said reasonable precautions would have

caused MONTROSE to incur significant costs in terms of money, time, and resources.

       391.    MONTROSE, through its subsidiary, CTEH, also had a duty to properly investigate



                                                  70
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 71 of 81




employee reports of sexual harassment, sex crimes, and sex trafficking committed by its own agents

or employees.

       392.     Conducting said adequate investigations would have caused MONTROSE and/or its

subsidiary, CTEH to incur significant costs in terms of money, time, and resources.

       393.     MONTROSE and its subsidiary, CTEH, have the financial resources to implement

adequate precautions as well as adequate investigations.

       394.     Despite having the resources to fulfil their duties, MONTROSE through its

subsidiary, CTEH, refused to implement adequate precautions or conduct adequate investigations

because refusing to do so benefitted MONTROSE’S bottom line.

       395.     By refusing to implement adequate precautions or conduct adequate investigations,

MONTROSE, through its subsidiary, CTEH, benefitted from the avoidance of the costs and

expenses associated with implementing these reasonable precautionary measures, thus directly

reducing their overhead expenses.

       396.     MONTROSE’S reckless disregard for BECKNER’S conduct in violation of the

TVPA constitutes “participation in a venture” with BECKNER because in doing so, they knowingly

assisted, supported, and facilitated BECKNER by allowing him to continue his tortious conduct

while MONTROSE reaped the benefits of BECKNER’S labor, and in fact by emboldening him to

proliferate his sexual exploitation of employees, including Plaintiff, without fear of reprimand,

prosecution or financial penalty.

       397.     MONTROSE’S reckless disregard for BECKNER’S conduct in violation of the

TVPA also assisted, supported, and facilitated BECKNER’S tortious conduct by creating a toxic

culture of fear and zero-accountability in which employees working under BECKNER, including

Plaintiff, were conditioned never to question or report BECKNER’S tortious conduct.

                                               71
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 72 of 81




       398.    As a result of this toxic culture which facilitated BECKNER’S tortious conduct,

which constitute a course of conduct and continuous pattern of misconduct, as described above,

specifically including the sending of sexually explicit and inappropriate messages, the three episodes

where BECKNER forcefully engaged in unwanted sexual intercourse with Plaintiff on March 6,

2021, March 8, 2021, and March 17, 2021, touching Plaintiff on her buttocks, attempting to kiss her,

and attempting to put money in plaintiff’s bra on April 24, 2021, and again attempting to put money

in Plaintiff’s bra on May 3, 2021, MONTROSE, through its subsidiary, CTEH, benefitted by reaping

the labor, services, and benefits of a compliant and submissive work force, while avoiding the costs

and expenses associated with the investigation and management of human resources complaints,

ultimately reducing their overhead expenses further.

       399.    Additionally, MONTROSE, through its subsidiary, CTEH, benefitted from its

reckless disregard of BECKNER’S conduct in violation of the TVPA by continuing to reap the

benefits of BECKNER’S labor even after receiving complaints of his abusive behavior, and allowing

BECKNER to remain in his position as their agent and as a Health and Safety Supervisor working on

the productions of a television series and a feature film, thereby avoiding the cost, disruption, and

use of resources which would have been incurred if MONTROSE were to have to select and train a

new Health and Safety Supervisor to replace BECKNER.

       400.    MONTROSE, through its subsidiary, CTEH, further benefitted from the production,

utility, and value of Plaintiff’s continued labor at its subsidiary, CTEH, that was maintained by

means of force, threats of force, fraud, and/or coercion as defined in 18 U.S.C. § 1591 by

BECKNER’S actions.

       401.    MONTROSE, through its subsidiary, CTEH, further benefitted by avoiding the costs

of paying Plaintiff her hourly wage and any overtime pay she would have been owed by

                                                 72
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 73 of 81




MONTROSE, through its subsidiary, CTEH, if the additional hours she spent performing

commercial sexual activities had included in the computation of her work hours each week, which

activities BECKNER, in his capacity as an agent and employee of MONTROSE and its subsidiary,

CTEH, had coerced Plaintiff into performing as a condition of her job at MONTROSE.

       402.    In addition to participating with BECKNER in a venture which violated the TVPA,

MONTROSE, through its subsidiary, CTEH, also knowingly aided and abetted BECKNER’S

violations of 18 U.S.C. § 1591(a) by providing financial payments and authority, including the

authority to fire Plaintiff, when MONTROSE knew or recklessly disregarded the fact that

BECKNER, in his capacity as an agent for MONTROSE and its subsidiary, CTEH, was using his

position to cause Plaintiff to engage in commercial sexual acts by means of use of force, threats of

force, fraud, or coercion.

       403.    As a direct and proximate result of the actions of MONTROSE, through its

subsidiary, CTEH, Plaintiff has suffered personal injuries, including severe emotional distress,

physical injuries, and economic losses, and these injuries continue.

   COUNT XXVII - VIOLATION OF LOUISIANA SEX TRAFFICKING STATUTES
                            BY MONTROSE

       404.    Plaintiff incorporates by reference Paragraphs 1 through 174 of this

Complaint as if fully set forth herein.

       405.    Plaintiff is authorized to bring this civil claim against Defendants pursuant to LSA-

R.S. § 46:2163, which provides a state law cause of action for victims of human trafficking as

defined by LSA-R.S. LSA-R.S. § 14:46.2.

       406.    LSA-R.S. § 14:46.2 makes it unlawful for any person to “knowingly benefit from

activity prohibited by the provisions of this Section.”


                                                 73
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 74 of 81




       407.    LSA-R.S. § 14:46.2 also makes it unlawful to “knowingly facilitate any of the

activities prohibited by the provisions of this Section by any means, including but not limited to

helping, aiding, abetting, or conspiring, regardless of whether a thing of value has been promised to

or received by the person.”

       408.    BECKNER, while acting in his official capacity as an agent and employee of

MONTROSE, through its subsidiary, CTEH, did knowingly recruit, harbor, transport, provide,

solicit, receive, isolate, entice, obtain, and/or maintain the use of Plaintiff through fraud, force,

and/or coercion with the intention of forcing her into sexual labor and services for him in violation of

LSA-R.S. § 14:46.2.

       409.    The sexual activity which Plaintiff was forced to engage in with BECKNER meets

the definition of commercial sexual activity as defined by of LSA-R.S. § 14:46.2(C)(1) because

something of value, namely employment at MONTROSE, was promised and in fact given in

exchange for and conditioned on the performance of sexual acts.

       410.    In order to obtain sexual services from Plaintiff, BECKNER, while acting in his

official capacity as an agent and employee of MONTROSE and its subsidiary, CTEH, knowingly

engaged in acts which constitute fraud, force, or coercion as defined in LSA-R.S. § 14:46.2, in the

following ways:

               a)      Using of a plan, pattern, or statement with intent to cause Plaintiff to believe
                       that failure to perform an act will result in the use of force against, abduction
                       of, serious harm to, and/or physical restraint of Plaintiff;

               b)      Physically restraining or threatening to physically restrain Plaintiff;

               c)      Using debt bondage by forcing Plaintiff to engage in commercial sexual
                       activity in payment toward or satisfaction of purported debt;




                                                  74
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 75 of 81




               d)     Using civil and/or criminal fraud by making a misrepresentation of material
                      fact with the intent to deceive Plaintiff, thereby causing Plaintiff’s justifiable
                      reliance resulting in injury to Plaintiff; and

               e)     Using extortion as defined in LSA-R.S. § 14:66 by communicating a threat to
                      do harm to Plaintiff with the intention of obtaining something of value from
                      the Plaintiff, namely, commercial sexual acts.

       411.    Upon information and belief, MONTROSE and its subsidiary, CTEH, knew that

BECKNER, while acting as an employee and agent of MONTROSE and CTEH, was using his

position to violate LSA-R.S. § 14:46.2 by using fraud, force, and/or coercion to cause Plaintiff to

engage in commercial sexual acts. MONTROSE’s knowledge of BECKNER’ conduct is evidenced

by the following facts:

               a)     Open and obvious grooming behavior by BECKNER toward Plaintiff made
                      in the presence of other MONTROSE and CTEH employees;

               b)     General knowledge amongst MONTROSE and CTEH employees that
                      BECKNER had engaged in sexual activity with other subordinate female
                      employees working at MONTROSE and/or CTEH to engage in commercial
                      sexual acts with himself in exchange for the right to keep their jobs at
                      MONTROSE and/or CTEH;

               c)     BECKNER’S public bragging to MONTROSE and/or CTEH employees that
                      he was having sex with Plaintiff; and

               d)     Other indications that BECKNER was causing Plaintiff to engage in
                      commercial sexual acts with himself in exchange for the right to keep her job
                      at MONTROSE and/or CTEH through the specialized treatment BECKNER
                      gave to Plaintiff, including fine dining, manicures, pedicures, buying
                      alcoholic beverages for Plaintiff, force, fraud, and coercion, which will be
                      shown at a trial of this matter.

       412.    Defendant MONTROSE knowingly benefitted from the tortious conduct of

BECKNER in violation of LSA-R.S. § 14:46.2, which benefits are described further below.

       413.    MONTROSE has a duty to take reasonable precautions to protect its employees,

including the employees of its subsidiary, CTEH, from sexual harassment, sex crimes, and sex



                                                 75
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 76 of 81




trafficking perpetrated by MONTROSE’s own agents or employees.

       414.    The implementation and enforcement of said reasonable precautions would cause

MONTROSE and its subsidiary, CTEH, to incur significant costs in terms of money, time, and

resources.

       415.    MONTROSE also has a duty to properly investigate employee reports of sexual

harassment, sex crimes, and sex trafficking of its employees by MONTROSE’s own agents or

employees, including the agents and employees of its subsidiary, CTEH.

       416.    Conducting said adequate investigations would cause MONTROSE to incur

significant costs in terms of money, time, and resources.

       417.    MONTROSE has the financial resources to implement adequate precautions as well

as adequate investigations.

       418.    Despite having the resources to fulfil their duties, MONTROSE and its subsidiary,

CTEH, refused to implement adequate precautions or conduct adequate investigations because

refusing to do so benefitted MONTROSE’s bottom line.

       419.    By refusing to implement adequate precautions or conduct adequate investigations,

MONTROSE benefitted from the avoidance of the costs and expenses associated with implementing

reasonable precautionary measures, thus directly reducing their overhead expenses.

       420.    MONTROSE’s knowing disregard for BECKNER’S conduct in violation of LSA-

R.S. § 14:46.2 facilitated BECKNER’S tortious conduct by helping, aiding, and abetting BECKNER

by allowing him to continue his tortious conduct while MONTROSE and its subsidiary, CTEH,

reaped the benefits of BECKNER’S labor, and in fact, by emboldening him to proliferate his sexual

exploitation of employees without fear of prosecution or financial penalty.

       421.    MONTROSE’S knowing disregard for BECKNER’S conduct in violation of LSA-

                                                76
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 77 of 81




R.S. § 14:46.2 also facilitated BECKNER’ tortious conduct by helping, aiding, and abetting

BECKNER by creating a toxic culture of fear and zero-accountability in which employees working

under BECKNER were conditioned never to question or report BECKNER’S tortious conduct.

       422.    As a result of this toxic culture which facilitated BECKNER’S tortious conduct,

which constitute a course of conduct and continuous pattern of misconduct, as described above,

specifically including the sending of sexually explicit and inappropriate messages, the three episodes

where BECKNER forcefully engaged in unwanted sexual intercourse with Plaintiff on March 6,

2021, March 8, 2021, and March 17, 2021, touching Plaintiff on her buttocks, attempting to kiss her,

fondling her breasts, and attempting to put money in plaintiff’s bra on April 24, 2021, and again

attempting to put money in Plaintiff’s bra on May 3, 2021, MONTROSE and its subsidiary, CTEH,

benefitted by reaping the labor, services, and benefits of a compliant and submissive work force,

while avoiding the costs and expenses associated with the investigation and management of human

resources complaints, ultimately reducing their overhead expenses further.

       423.    Additionally, MONTROSE, through its subsidiary, CTEH, benefitted from its

reckless disregard of BECKNER’S conduct in violation of the TVPA by continuing to reap the

benefits of BECKNER’S labor even after receiving complaints of his abusive behavior, and allowing

BECKNER to remain in his position as their agent and as a Health and Safety Supervisor working on

the productions of a television series and a feature film, thereby avoiding the cost, disruption, and

use of resources which would have been incurred if MONTROSE were to have to select and train a

new Health and Safety Supervisor to replace BECKNER.

       424.    MONTROSE, through its subsidiary, CTEH, further benefitted from the production,

utility, and value of Plaintiff’s continued labor at its subsidiary, CTEH, that was maintained by

means of force, threats of force, fraud, and/or coercion as defined in 18 U.S.C. § 1591 by

                                                 77
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 78 of 81




BECKNER’S actions.

       425.    MONTROSE, through its subsidiary, CTEH, further benefitted by avoiding the costs

of paying Plaintiff her hourly wage and any overtime pay she would have been owed by

MONTROSE, through its subsidiary, CTEH, if the additional hours she spent performing

commercial sexual activities had included in the computation of her work hours each week, which

activities BECKNER, in his capacity as an agent and employee of MONTROSE and its subsidiary,

CTEH, had coerced Plaintiff into performing as a condition of her job at MONTROSE.

       426.    In addition to participating with BECKNER in a venture which violated the TVPA,

MONTROSE, through its subsidiary, CTEH, also knowingly aided and abetted BECKNER’S

violations of 18 U.S.C. § 1591(a) by providing financial payments and authority, including the

authority to fire Plaintiff, when MONTROSE knew or recklessly disregarded the fact that

BECKNER, in his capacity as an agent for MONTROSE and its subsidiary, CTEH, was using his

position to cause Plaintiff to engage in commercial sexual acts by means of use of force, threats of

force, fraud, or coercion.

       As a direct and proximate result of the actions of MONTROSE, through its subsidiary,

CTEH, Plaintiff has suffered personal injuries, including severe emotional distress, physical injuries,

and economic losses, and these injuries continue.

                                           XXVIII - DAMAGES

       427.    As result of the Defendants’ tortious misconduct, as set forth above in Count 1

through Count 8, Plaintiff is entitled to recover general and special damages reasonable under the

premises, as contemplated by the Louisiana Civil Code, Title VII of the Civil Rights act, the TVPA,

and LSA-R.S. 46:2163, including but not limited to actual damages, compensatory damages, back

pay, front pay, punitive damages, court costs and attorney’s fees, and treble damages.

                                                  78
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 79 of 81




                                 XXIX - REQUEST FOR TRIAL BY JURY

       428.    Pursuant to Fed. R. Civ. P. 38(a), Plaintiff demands trial by jury, consisting of no

fewer than twelve members, on all issues of fact and law triable to a jury.

                                     XXX - PRAYER FOR RELIF

       WHEREFORE, plaintiff, ALICIA KELLY, prays:

       A.      That the Defendants, CENTER FOR TOXICOLOGY & ENVIRONMENTAL

               HEALTH, a subsidiary of MONTROSE ENVIRONMENTAL GROUP, INC., a

               Delaware Corporation, LIONSGATE ENTERTAINMENT, INC., a California

               Corporation, LIONSGATE TELEVISION, INC., a California Corporation, JERRY

               BRUCKHEIMER, INC., a California Corporation, JERRY BRUCHKHEIMER

               TELEVISION, INC., a subsidiary of JERRY BRUCKHEIMER FILMS, INC., a

               California Corporation, APPLE, INC., a California Corporation, APPLE

               PRODUCTIONS, INC., a California Corporation, APPLE STUDIOS, a subsidiary of

               APPLE, INC., a California Corporation, JASON SEALS, CHASE SELBY, and

               JASON BECKNER, be served with copies of Summons and this Complaint for

               damages;

       B.      That they serve their answers thereto;

       C.      That there be trial by jury;

       D.      That after the expiration of all lawful delays and due proceedings are had, there be

               judgement entered in Plaintiff’s favor and against Defendants, jointly, severally, and

               in solido, for:

               1.      General damages reasonable under these premises;

               2.      Special damages reasonable under these premises;

                                                79
Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 80 of 81




       3.    Punitive damages Reasonable under these premises;

       4.    Treble damages;

       5.    Legal interest on all money damages awarded from the date of judicial

             demand until the same are fully paid;

       6.    Pre-judgment interest where provided by law;

       7.    All costs and attorney fees that are allowed by law; and

       8.    All other damages as contemplated by the Louisiana Civil Code, Title VII

             of the Civil Rights act, the TVPA, and LSA-R.S. 46:2163, which will be

             shown at a trial of this matter; and

       9.    Such other relief as the interests of justice may require.



                                    Respectfully submitted,

                                    /s/ Kristi S. Schubert
                                    FRANK E. LAMOTHE, III, (#07945)
                                    KRISTI S. SCHUBERT (#34870)
                                    JULIEN G. LMAOTHE (#38313)
                                    LAMOTHE LAW FIRM, LLC
                                    400 Poydras Street, Suite 1760
                                    New Orleans, LA 70130
                                    Telephone: (504) 704-1414
                                    E-Mail: felamothe@lamothefirm.com
                                              kschubert@lamothefirm.com
                                              jlamothe@lamothefirm.com

                                    Attorneys for Plaintiff, Alicia Kelly




                                       80
     Case 2:22-cv-00683-GGG-MBN Document 1 Filed 03/16/22 Page 81 of 81




                                 CERTIFICATE OF SERVICE

       I certify that on March 16, 2022, the foregoing document was filed electronically with the

Clerk of Court using the Court’s CM/ECF system. Notice of this filing will be sent to counsel for all

parties by operation of the CM/ECF system.


                                              /s/ Kristi S. Schubert
                                              KRISTI S. SCHUBERT




                                                 81
